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rN THE UNrrED sTATES DISTRICT coURT
FOR THE NoR'rHERN DISTRICT 01= ILLINOIS bc/SEP g 4 2013

EASTERN DIVISION
THOMAS G. BRUTON

CARLETON B- SYPH II‘ CLERK, U.S. DfSTR|CT COURT

Plainn_')j’ ) Case No: l:IS-cv-04821

v. ) Judge Mathew F. Kennelly

JUDGE EDWARD A. ARCE, ) Magistrate Iudge M. David Weisman
JUDGE JOHN THOMAS CARR, ) l
MICI-IELLE DWORAK of ) §'
Women’s Divorce & Family I_aw Group g
by Haid ana reich LLP, ) 'l°

Defendants 4'"

§

PLAINTIFF RESPONSE TO SUA SPONTE ORDER RE UESTING ARGUME TO

ASSERT SUB,|ECT MATTER ,| !JRISDICITON.
NOW COMES Plaintiff, Carleton B. Syph II and his Respgnse to Sua Spgnte Order Reguesting

Arguments to Assert Subiect Matter Jurisdiction for a Cornplaint for Declarato;y Judgrnent and

Injunctive relief against Defcndants lodge Edward A. Arce, Judge John Thomas Carr, Michelle

 

Dworak of the Women’s Divorce & Family Law Group by Haid and Teich LLP, alleges, states,

and avers:

It’s appropriate for the administration of justice and the spirit which it rest on, to introduce this
complaint by asserting; the institution of marriage and what it means to be a family in both form
and perception is different Nothing in this pleading should be mistaken for me expressing an
opinion about whether it’s better or worst; it’s just different Furtherrnore, there are significant
developments in Cook County specifically; which when you consider the claims levied in
Carleton B. Syph II’s complaint, this court should be acuter aware of. That said, we'll first
address the 4 sections in Honorable Matthew F. Kennelly's request for why under the purported
Rooker-Feldman doctrine, Carleton B Syph II’s complaint should not be dismissed for lack of

jurisdiction.

 

 

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eian
"‘Seventh Cireuit in Parejko v. Dunn County Circuit Court, 2 ”

l. In Parejko v. Dunn Courlty Circuit Court, the complainant attacks the constitutionality
ot` the states divorce statue in general, or I guess more specifically the right to grant a
divorce as a means to stop the divorce proceedings A critical distinction and reoccurring
theme in Carleton B. Syph II’s complaint is that it does not seek to challenge the
constitutionality of the statue, but instead argues the defendants have been and are applying
the law unconstitutionally

2. While we admit that 750 ILCS 5!508(_b) could possibly be interpreted as being
unconstitutionally vague; Carleton B. Syph ll does not advance that argument The way
we see it, the statue quite clearly explains the only defense against such a claim is if in fact
a hearing had been precipitated improperly‘; in other words if a fraud upon the court had
occurred.2 Carleton B. Syph II’s complaint suggest that in fact, a fraud upon the court had
occurred, and the judge's decision to ignore a mandate put in place to ensure procedural

due process, help to facilitate if not perpetuate it.

 

' |f at any time a court finds that a hearing under this Act was precipitated or conducted for any improper purpose,
the court shall allocate fees and costs of all parties for the hearing to the party or counsel found to have acted
improperly improper purposes includel but are not limited to, harassment unnecessary delay, or other acts
needlessly increasing the cost of litigation

2 Kenner v. C.l.R., 387 F.3d 639 (1968); 7 Moore's Federol Proctr`ce, 2d ed., p. 512, fl 60.23 defines this crime as one
that prevents the court from working in an impartial manner. A similar case, Buliocir v. United States, 763 F.Zd
1115, 1121 (IOrli Ci'r. 1985) held that this kind of fraud is aimed at how thejustice system works and is not a fraud
between parties, etc. lt is deliberately intended to influence the system and the judge and the impartial rendering
of a judgment ln other words, the just functioning of the court has been corrupted by fraud upon the court

l`-J

 

 

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3. We bring to the court's attention Douglass .l., the dissenting justice in Younger v Harris

who opinioned in favor of federal intervention to enjoin Younger from the prosecution of

Harris.

"These evils are not so substantial that the states interest in prohibiting the threat
ofrhem outweighs the public interest in giving legitimate political discussion a wide

berth. ” Younger v_Harris 401 US 37, 63.

We bring that to the attention of this court to assert that courts include the public interest in their

calculus for determining when to abstain or intervene For reasons already presented in

the complaint and additional provided in this pleading, it’s in the publics best interest for

the court not to abstain in this siluation.

4. Furthermore, Carleton B. Syph II’s complaint does not seek to challenge the divorce which

had been settled and entered into a judgment dated ?i22f2014. The issue brought to this

court doesn’t seek to challenge alimony which both parties waived and is too entered into

the 7!22!20]4 judgment The issue brought to this court does not seek to challenge child

custody; which was established in 2013 before it too was finally entered into the 7)'22!2014

judgement

the actions of the defendants; which were aimed at impairing that dispositionl

;)- If anything, Carleton B. Syph ll’s complaint seeks to protect the state*s disposition from

6. For those reasons1 neither the case itself nor the Seventh Circuit’s decision on the matter

provides a precedence. which justifies dismissing Carleton B. Syph II`s complaint for want

of jurisdiction.

Opinion Il
“Exxon Mobil Corp. v. Saudi Basic Industries Corp., 544 U.S. 280 (2005)”

7. Critical in understanding the difference between Rooker-Feidman, as raised in the context

of Exxon Mohil Corp. v. Saudi Basic Industries Corp., 544 U.S. 280

3

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and Carleton B. Syph II’s complaint; which also serves as a reoccurring theme throughout
this pleading, is the fact that Carleton B. Syph II’s complaint doesn’t request the federal
district court to alter any final judgement entered by the highest court of the state as
described in 28 U.S. Code § 1257 and sought in Roolcer. Carleton B, Syph ll’s complaint
doesn’t request the federal district court to rule any portion of the statue or its rules to be
unconstitutional either. as was sought in Feldman.

. That said, if anything, the decisions and opinions expressed in the targeted case, more
supports why Carleton B. Syph II’s complaint should not be dismissed for want of
jurisdiction under the so called Rooker~Feldman doctrine. l be gin to back up that argument
by drawing attention to the following three quotes from Justice Ginsburg's opinion on the
matter.

Variously interpreted in the lower courts, the doctrine has sometimes been construed
to extend far beyond the contours of the Rooker-Feldman cases, overriding Congress’
conferral of federal~court jurisdiction concurrent with jurisdictions exercised by state
courts, and superseding the ordinary application of preclusion law pursuant to 28 U.S.
Code § l 738 ” Exxon Mobil Corp. v. Saudi Basic Industries Corp., 544 U.S. 283
"Since Feldman, this Court has never applied Rooker-Feldman to dismiss an action
for want of jurisdiction. The few decisions that have
mentioned Roolcer and Feldrnan have done so only in passing or to explain why those
cases did not dictate dismissal ” Exxon Mobil Corp. v. Saudi Basic Industries
Corp., 544 U.S. 287
“When there is parallel state and federal litigation, Rooker-Feldman is not triggered
simply by the entry of judgment in state court. This Court has repeatedly held that "the
pendency of an action in the state court is no bar to proceedings concerning the same

matter in the F ederal court having jurisdiction " Exxon Mobil Corp. v. Saudi Basic
Industries Corp., 544 U.S. 292

9. Exxon Mobil Corp. v. Saudi Basic Industries Corp., 544 U.S. 280 (2005) was not as

much about the so called Rooker‘Feldman doctrine, as it was about preclusion- In faet, in

the final analysis; the Supreme court remanded the case back to the federal district courts

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to proceed on SABIC motion to dismiss the federal claim filed by the E.xxon Subsidiaries.

AS the so called Rooker-Feldman doctrine did not impair the federal courts jurisdiction to

consider the SABIC motion to dismiss the Exxon Subsidiaries federal claim; although the

state court had already rendered a judgment in favor of Exxon Subsidiaries on a similar

mattel

10. It’s also important to keep in mind that Our Federalism is intended to ensure the rights of

the citizenry in a way that aligns with the public interest of the state. This is why although,

the federal circuit of appeals originally decided the federal district court did not have

jurisdiction,

The Court of Appeals criticized E.i;xonMobir' for pursuing its federal suit as an
“insurance policy” against an adverse result in state court 364 F. 3d 102, 105-
106 (CA3 2004). Exxon Mobil Corp. v. Saudi Basic Industries Corp., 544 U.S.

294 footnote 9.

ll. There is no such litigation maneuvering present in the issues at hand. In fact, there is no

concurrent action in the state court against or involving the three defendants mentioned in

Carleton B` Syph H’s complaint that he could "insure"` against in a federal complaint Even

if there was,

"There is nothing necessarily inappropriate however, about filing a protective
action." Exxon Mobil Corp. v. Saudi Basic Industries Corp., 544 U.S. 294

footnote 9.

12. For those reasons, Exxon Mobil Corp. v. Saudi Basic Industries Corp., 544 U.S. 280

(2005) does not provide good reason for dismissing Carleton B. Syph I]’s complaint for

want of jurisdiction.

O inion III
“Younger v. Harris, 401 U.S. 37 (19'71)”

U'|

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13.

15.

With exception that both Carleton B. Syph II’s complaint and the appellants in Younger
V. Harris both seek!sought injunction and now the question of whether 28 U. S. C. § 2283
bars this court`s involvement; neither the facts of the cases themselves nor the arguments

presented should be a worthy comparison

. While by no means should this be mistaken as the primary reason for why Younger V.

Harris should not be considered when determining whether to dismiss Carleton B. Syph
II’s complaint, critical is the fact, that Younger v. Harris was clearly a criminal case. in a
criminal case the presumption of innocent until proven guilty beyond a reasonable doubt
provides a defendant substantially greater chance of vindication on the grounds of a
constitutional violation. This presumption is so great that even in light of a confession of
guilt and evidence proving beyond a reasonable doubt of the same, what some may
consider a slight infringement of one’s constitutional right like failing to read someone’s
Miranda rights, can vitiate a judgment entered against a person for committing the most
heinous of crimes The point here, is irregarable harm resulting from a constitutional
violation is better mitigated in a purely criminal case, than it is in a juryless civil
environment that allows a judge to dish out criminal like punishments at his discretion

Second, Harris Jr. does not challenge that the actions of Younger himself as being
unconstitutional- lnstead, Harris Jr. challenges that the statue Younger is pursuing a
conviction under to be unconstitutional. Carleton B. Syph II’s complaint does not challenge
the statue as being unconstitutional, he argues the law was being unconstitutionally applied
by the defendants To draw a parallel between Younger V. Harris and Carleton B. Syph
lI’s complaint, which does not exist, one would have to imagine a hypothetical situation

wherein which Harris .lr. wasn’t challenging the constitutionality of the statue. lnstead,

 

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you'd have to imagine that he was challenging the constitutionality surrounding the fact
that after asking Younger for a witness list and the judge ordering Younger to provide one,
Younger refused to provide a list of witnesses while continuing to move forward with the
prosecution Of course, I don’t know but l would imagine under that hypothetical
circumstance which more mirrors the issues at hand in Carleton B. Syph l]’s complaint;
the high court would have agreed with the district court's decision that Younger’s actions
were more along the lines of Pfister’s in Dornbrowski v. Pjister, 380 U. S. 4?9 (1965).

16. Even in Dornbrowski v. Pfister, 380 U. S. 479, Dornbrowslci didn 't challenge that Pjister
was applying the statue unconstitutionally but instead argued that the statue itself was
“overbreadth" or so vague, that it allowed for “sweeping and improper application" by
Pfister which served to infringe on Dombrowski ’s First and Fourteenth Amenclment rights.
The premise of Carleton B. Syph II’s complaint against Judge Edward A. Arce was that he
was not following the mandates under the statue, namely Cook County Cir. Ct. R.
13.3.I(b) and Cook County Cir. Ct. R. 13.3.(3). This is why, while not officially
presented in the body of the complaint, it has been argued before, that Judge Edward A.
Arce was acting outside of his jurisdiction to preside over the trial held on 3!22!20|7.
Therefore, he was not operating in his judicial capacity, when he entered the 3t27!2017
order, the subsequent order committing Carleton B. Syph ll to the Cook County Detention
Center on 12t21t2017 for attempting to vindicate himself in a civil case, the 2llt2018
ordering the entire case file sealed and impounded, nor when on 3l30t2018 he threatened
to have Carleton B. Syph II recommitted to the Cook County Detention Center for again
attempting to vindicate himself in a civil case; before finally entering an order barring him

from filing any additional pleadings The latter of which, allows the perpetrators of `a fraud

 

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on the court, to move the court to enforce judgments procured by that fraud, without the

court "ever" being allowed to consider the evidence of the fraud perpetrated to procure the

judgments it’s enforcing For those reasous, Judge Edward A. Arce is not necessarily

immune to being held personally liable for the adverse effects arising from these actions.

l'l. None-the-less, what Younger V. Harris does provide, is continuation that there are special

circumstances outside of the three 28 U. S. C. § 2283 exceptions that allows for a district

court to consider enjoining a state court to stay proceeding Younger v. Harris, 401 U.S.

37 at 45

Qia.ni_miB
“and other cases; andlor under 28 U.S.C. § 2283"

lS. As noted in the civil cover sheet, the cause of action for Carleton B. Syph II`s complaint is

42 U.S.C. § 1983. lt’s important to assert here, this complaint is about justice and tidelity;

1101 race .

".S'ection 1983 opened the federal courts to private citizensl offering a un iquel y federal
remedy against incursions under the claimed authority, of state law upon -rights

secured by the Constitution and laws of the Nation. " Mitchum V. F oster at 239

".,.the Civil Rights Act of 1871 "not only provides a civil remedy for persons whose
former condition may have been that ofslaves, but also to all people wherel under color
of State law, thev or any of them may be deprived of rights to which they are entitled
under the Constitution by reason and virtue of their national citizenship " Mitchum V.

Foster at 239 footnote 30

“lt is clear from the legislative debates surrounding passage of § l 983’s predecessor
that the Act was intended to enforce the provisions of the Fourteenth Antendrnent
"against State action,... whether that action be executive, legislative or fudicial....
Proponents of the legislation noted that state Courts were being used to harass and
injure individualsl either because the state courts were powerless to stop deprivations
or were in league with those who were bent upon abrogation of federally protected

rights " Mitchtun V. Foster at 240

 

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"Sherij?`s. having eyes to see, see riot; ['udges. having ears to hear, hear not,': witnesses
conceal the truth or falsify it; grand and petit juries act as if they might be
accomplices ..... [A]ll the apparatus and machinery of civil government..all the
processes of justice, skullc away as if government and justice were crimes and feared
detection Among the most dangerous things an injured party can do is to appeal to
justice " Mitchmn V. Foster at 241

“This legislative history makes evident that Congress clearly conceived that it was
altering the relationship between the States and the Nation with respect to the
protection of federally created rights.' it was concerned that state instrumentalities
could not protect those rights,' it realized that state officers might in fact, be
antipathetic to the vindication of those rights; and it believed that these failings
extended to the state courts. ” Mitchum V. Foster at 242

"`The very purpose of § 1983 was to interpose the federal courts between the States and
the people, as guardians of the people 's federal rights*to protect the people from
unconstitutional action under color of state law, ”whether that action be executive,
legisl::itivel or judicial ” Mitchum V. Foster at 242

“And this Court long ago recognized that federal injunctive relief against a state court
proceeding can in some circumstances be essential to prevent great, immediatel and
irreparable loss of a person ‘s constitutional ri ghts. ” Mitchum V. Foster at 242

“§ 1983 is an Act of Congress that falls within the "expressly authorized " exception of
that law. " Mitchum V. Foster at 243

19. The deprivation of a constitutional right can sometimes be the result of a singular act or

20.

decision made by one person. However; often it is a collection of acts and decisions over
time coordinated by many people. An argument backed up by the fact, that from its
inception 42 U.S.C. § 1983 was intended to deal with an organization The argument to
be made here, is being a part of a particular organization per se, is not a prerequisite for
people to organize for the purpose of depriving someone or some people of their right(s).
They need only a common goal and logic suggest, a relative benefit for accomplishing that
goal.

That said, Michelle Murray has spent over $70.000 with the attorneys mentioned in this

complaint; about $33,000 of which by her own account was spent in 201'.l alone. To put

 

 

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21.

those ligurcs into perspective il` none ol` the judgements in the state court are changcd.
which l reiterate Carleton B. Syph ll`s t`ederal complaint does not ask this court to do. ah
ol` the money he has spent. and it approaches all the money he will ever spend on child
support t`or his ll)-year-old daughter_ has already been given to the lawyers in this
complaint

P|cading liled 2-“'23."0 l 8 by attorneys at Beermann Pritikin Mirrabelli Swerdlove LLP

  

   
   

   

, __.__ t _. ___ _ ___; __ _ n n _ _ ...;_:,:__‘ _ _ _ _ . __ ___.._ ......._ _- _ -_ \_ .

   

`17. As a result of Carleton’s conduct Michelle has expended over $50,000 in

 
 

anomey‘s fees since the Judgment for Dissolution of Marriage was entered by this Cou.rt on July

 
 

Beermann Pritikin Nlirrabe|li Swerd|ove LLP

Those facts are raised1 to assure this court that any and all arguments presented by the
defendants which attempt to tie Carleton B. Syph ll`s litigation with a dissatisfaction with
his ex-wil`e or thejudgements_, are neither well placed nor made in good faith. Sure, a denial
of due process leading up to a hearing creates an unfair environment` which most times
will lead to an unlairjudgment, but that’s not why Carleton B. Syph ll seeks redress in thc

federal court.

22. It`s not the judgments thcntselves_. it`s the conduct leading up to and following the

judgments which serves as the basis for Carleton B. Syph ll`s 42 U.S.C. § 1983 complaint
-‘. Any suggestion otherwise by the defendants or anyone else for that matter. are but

tlailing attempts to draw this court's attention away from the clear evidence ot` the f`raud,

the Judge`s deliberate denial of due process which helped to facilitate if not perpetuate itq

 

3 (See Exhibit A} The pleading and corresponding complaint support the basis for the relief requested in Carleton

B. Syph ll’s complaint E)chibit A should be considered context to be included along with the record.

1[?

 

 

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23.

24.

25.

and their efforts to cover it all up by impounding the entire case file and barring any official
mention of it. (See Exhibit B)

It's argued here that the allegations mentioned in Carleton B. Syph Il's complaint, the
previous paragraphs, is why Congress enacted 42 U.S.C. § 1983 in the first place. For that
reason, which is backed up by the following citation, 28 U.S.C. § 2283 does not provide
good reason for dismissing Carleton B. Syph II`s complaint for want ofjurisdiction.

“§ 1983 is an Aci of Congress tha!'fai!s within the "e.rpressiy authorized " exception of
that iaw. ” Mitchum V. Foster at 243

Final Analysis

While the four opinion’s/interpretations above, addresses why this court should not dismiss
Carleton B. Syph II’s complaint for want of jurisdiction;' the reason for why this matter
arises to this level can be attributed to the defendants decisions to first seal and impound
the entire case flle, then bar Carleton B. Syph ll from filing any additional pleadings The
combination of which_. is an insidious violation of Carleton B. Syph II’s First Amendment
rights A violation equal to, if not more profane to the administration of justice, than the
Fifth & Fourteenth Amendment violations levied in the official complaint before this court.
It’s important to reiterate in this pleading that it is only appropriate to:

pennanent!y enjoin Judge Edward A. Arce and Judge Jokn Thomas Carr from

further ruling on or enforcing any orders entered by Judge Edward A. Arce, and

preiiminoriiy enjoin the entirety of the Cooir County Circui! Court Dornesric

Reiation ’s justices from further ruling on or enforcing any orders entered for case
12D009167.

26. To further justify the relief requested, l start by explaining there are only three issues at

play in ease 12D009167.

ll

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a. There's the SSO0.00 per month Child Support Order entered on 6)'? 12013 and the
corresponding $300.00 per month arrearage ordered entered on 32'3{]|;'201£€».4

b. There's the $8,?9?.7? judgment for attorney fees entered on 8!4!2017 and the
corresponding contempt order entered against Carleton B. Syph ll for his inability
to pay those fees, entered on 6)".+')'2018.

c. There's a portion of the 6f7f2018 order which attempts to enforce a preliminary

injunction that was never entered, as part of a ruling on a Petition for Rule to
Show Cause.

26§a[ The §500 and §300 per month Child Sup@rt Orders
2?. As can be seen below the $500.00 per month child support order has always been paid
through and enforce by the State. There were some questions leading up to the dissolution
of marriage proceeding as to whether an arrearage in child support would be added to the
$500.00 per month order entered on 61?!2013. That question was settled on ?122,'2014
when the Judge ordered that the child support obligation should have begun in .lanuary
2013. She then considered what Carleton B. Syph II had already paid in 2013 and

calculated an arrearage amount as can be seen below. 5

6!7!2013 Order excerpt

 

4 The $300.00 per month arrearage order is topic of contention, but the contention is only collaterally related to
this federal complaint for that reason it’s not raised

5 This is a significant reason and a portion of the contention expressed in footnote 3.

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Diabmellll“ii_

 

7!22!2[|14 Disso|ution of Judgement Excerpt

        

Michelle‘s `r"ctirion for Child Suppon was filed on Janua:'y 8. 2013. The Co\rrt.
on lime ?, 2013. entered an order requiring Carleton to pay rr\onthly child support in the

_ amount 01`$500.00 with arrears to be determined The Coun determines that iris
appropriate ro enter the child support order retroactive to January. 2013. The evidence
adduced ar trial demonstrated that Carleton failed ro pay the court ordered child support
in .\iovernber and December, 2013_ Cn`vcn the retroactive application of the child support
l order to January. 20| l and Carleton's sells imposed arrearages. Carleton is in mem in

. child support m the amount of 52.950 through Dcccrnbcr 31. Zt`llll Carleton shall pay

- said child support arrearage and any other arrearage that has accrued since the date of the
trial of this cause on or before Seprcmber 8, 2014.

   
  
      
     
      
        
    
   

This should not be mistaken l`or Carleton B. Syph ll relitigating the facts or trying to alter
any ol` the j udgements. lt’s only brought to this courts attention to assure il, that the issue
in 26(a) has to some extent been over satisfied by Carleton B. Syph ll. lt currently is and
always has been enforced by the state, without any legitimate intervention by the Cook
County Domestic Court Judges. including Judge Edward A. Arce and Judge John
Thomas Carr. For this reason, there will be no harm to J ridge Edward A. Arce. Judge
John Thomas Carr or other Dornestic Court Relations Justices il` they were to be enjoined

26(b) The $8,797.‘77 iudgment for attorney fees

13

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28. We now address the 58,79?.7? judgment for attorney fees entered on 8!4!201?; which
purportedly represents the litigation efforts between 10!2?12015 and 6!5)'201? to enforce
an order. Again, we draw attention to the judgement not for the purpose of directly
attacking or altering it. Instead, we raise thejudgement itself only so that it may be viewed
in context with Carleton B. Syph l]’s 42 U.S.C. § 1983 complaint

“...Congress...realr'zed that store oj‘icer.s might, in focr, be ontr'potherr'c to the
vindication of those rights; and it believed that these failings extended to the stale

courts ” Mitchum V. Foster at 242

“.. .rhe store courts were powerless to stop deprivations or were in league with those
who were bent upon abrogation of federally protected rights ” Mitchurn V. Foster at

240

29. When considering the judgment in context with the 42 U.S.C. § 1983 complaint, do so with

the 750 ILCS 51508b 6statue itself and Exhibit C (A schedule of child support payments

and payment accruals) in mind.

30. As can be seen on page 2 of Exhibit C, in May of 2016, the month when Carleton B. Syph

II filed his petition to modify child support, he was ahead of his obligation by $1,150.00.

 

 

 

 

 

 

 

 

 

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Co||ectior\ Date: Amotirg Balance Group
5/1/2016 $ 500.00 5 (650.00) Accrual
5/16/2015 5 lSOO.UO) $ (1,150.00) 437525

 

 

6 {b} ln every proceeding for the enforcement of an order or judgment when the court finds that the failure to
comply with the order or judgment was without compelling cause or iustiflcation, the court shall order the party
against whom the proceeding is brought to pay promptly the costs and reasonable attorney's fees of the prevailing
party. |f non-compliance is with respect to a discovery order, the non-compliance is presumptively without
compelling cause orjustification, and the presumption may only be rebutted by clear and convincing evidencel |f at
any time a court finds that a hearing under this Act was precipitated or conducted for any improper purpose, the
court shall allocate fees and costs ofa|l parties for the hearing to the party or counsel found to have acted
improperly. improper purposes include, but are not limited to. harassment, unnecessary delay, or other acts
needlessly increasing the cost of litigation.

l¢il

 

 

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31.

32.

in fact, Carleton B. Syph l] had been running a credit balance since 10i2?t'2015. That’s
only brought to this courts attention to support, that any litigation efforts which can truly
be for the enforcement of an order Carleton B- Syph II’s was purportedly failing to comply
with “ without compelling cause or justification ”, are those following his petition to modify
child support. As it's unreasonable to believe Carleton B. Syph ll was failing to comply
with the order prior to this date, if on the day he filed his petition to modify child support
he had over satisfied the obligation. That would be equivalent to holding someone
accountable for the late fee on a speeding ticket, they overpaid on time.

Therefore, the only efforts which could reasonably be assigned to the enforcement of an
order that Carleton B. Syph II failed to comply witb, are those between the time he filed
his petitions to modify child support and the day the attorney formally withdrew her
representation on the matter. (Between 5!26/2016 and 6!5!201'?.) f

A reasonable person would consider the litigation efforts between 5!26!2016 and 615!2017,
as being nothing other than the cost of perpetrating a fraud to ensure an improper
precipitation of the 3.+‘22.¢'2017 hearing 3 As the litigants mentioned in the exhibit,
requested no discovery over the time span nor does the record reflect them challenging any
of the merits of the case. lf not all, then an astounding amount of their activity during this

time frame are certainly fraudulent thus improper, and quite possibly harassing too.

 

f Tecnnically, the time frame for "e_,lj'orts which could reasonably be assigned to the enforcement of on order that
Carleton B. Syph H’s failed to comply with‘°'wou|d begin sometime after 7!1/2016 when the credit balance expired.
We provide this footnote, to help this court see the distinction between challenging the judgments themselves and
the reason for the 42 U.S.C. § 1983 complaint

5 (See Exhiblt D] The pleading and corresponding complaint support the basis for the relief requested in Carleton B.
Syph ll’s complaint The argumentsfevidence in Exhihit D are not put forth in this complaint; which does not seek
to alter the judgments arising from decisions and actions withln. lt should be used as context to be included along
with the record.

15

 

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33. The evidence and arguments in the exhibit are highlighted here. to assure this court that
issuing an injunction to stay proceedings focused on enforcing this judgment, is in the best
interest of the public q As the alternative would legitimize the decisions and the actions.
Neither of which, can be considered to reflect the appropriate way to enforce a child support
order as outlined in 150 ILCS 5/508(b) nor the appropriate use of the tools and processes
put in place to administer justice.

"The ve:jv purpose oj`§ l 983 was to interpose the federal courts between the States
and the people as guardians oftlie people's federal rights-to protect the people
from unconstitutional action under color ofstare lang "whether that action be
executive legislative orlu_g’ggl. " Mitchum V. Foster at 242

34. Surely there are some concerns and l state hcre, that l have an appreciation for the pause
given to a request to enjoin two judges. not to mention an entire division of judges
However; when considering the litigation efforts between 5l26l2016 and 6l5l201’l, the
question is not whether thejudgments should be en forced, but instead what judge or judges
want(s) to enforce them. We know Judge Edward A. Arce wants to, and based on the
statements he made during the ill 1_6)'201?' hearing to disqualify Judge Edward A. Arce

we can safely assume Judge John Thomas Carr would also want to.

J-_"d Jvlw Thomas Carr_‘undn 1»"2017

    

 

” After withdrawing on 6!5!2017 in order to be substituted in for the Women's Divorce and Family Law Group LLP
attorney Dworkin both filed an additional pleading in support of her petition for Fees and then showed up to the
7!28{'2017 hearing to argue in favor for it. l bring that to the attention of this court to point out that on 7!28;'2017
there were 3 if no 4 different attorneys from two different law firms present, during the 7,/28!2017 hearing held
on Carleton B. Syph ll’s Motion to Reconsider.

 

 

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The very first arguing paragraph from the 735 ILCS 5/2-1001(a)(3) petition is depicted

bclow.

   

lgn\rrtng his mm urilcr, which required \ll'l{RA \' to prill life proof nl her lll lb lttuln'li.°.

 
  

.u»r only vitiated inv constitulu_ntal opm to due process lending up in llit- i."_‘_`!/llll`-

 
 

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f`nurl. which l~..i~ enabled thc nprw~vni: party lo commit n fraud in ta~t» l Z`Dlll_l‘l|"_)"` filed

 
 

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According to the process communicated to Carleton B. Syph Il, Judge .lohn Thomas Carr
was randome selected from a pool of judges to rule on the malter. We are of the opinion
that a random selection front a population is intended to at least represent the whole, the
majority or a significant minority of the population Logic would then suggest, that Judge
John Thomas Carr for all practical purposes knew that his judgment on the matter would
represent the whole of the Domestic Relations j udiciary_. and he meant to communicate that
neither he nor any of the other justices presiding over cases in the Domestic Relations
Division at 50 Washington. saw anything prejudicial about ajudgc ignoring his own order
to ensure procedural due process If.ludge .lohn Thomas CarrfDornestic Relations Division
justice didn`t find it prejudicial for Judge Edward A. Arce to ignore his own order, not to
mention the mandatory rules laid out in Cook County Cir. Ct. R. 13.3.I(b) and Cook
County Cir. Ct. R. 13.3.(a), then logic would suggest they`d have no problem awarding

parties who exploit similar opportunities to perpetuate frauds in their courts.

 

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35. When given an opportunity to speakx‘argue t`or the masses even if` that is not your intent,

you have to assume the minute group oi` individuals your communicating with. will to some
extent interpret your words and actions to represent the sentiments ol" the masses you’re
representing For this reason. l take this complaint and all ot` the words presented within it
serious. As while I can`t speak i`or Judge John Thomas Carr, Judge Edward A. Arce has
been sued in federal court before. l dori`t know enough about the action in the state court
to express any opinion about the legitimacy of the Federal complaints1 but in light of the

evidence and arguments iri this complaint the court should be aware of that fact.

§§(c) attempts to enforce g_prelimii_iarv init_inction that w'§_i_iever entered. as na_rt of g

ruling on a Petitio_n for Rule to Sl_iow Cause

36. The court should take note, that Carleton B. Syph II`s 42 U.S.C. § 1983 complaint and ali

corresponding pleadings and exhibits1 most ol` which are needed to back up the claims in
his complaint, originate from the case file for 12D00916?. The Circuit Court of Cook
County must transmit a certified copy of` that case file to the State Appellate Court. to

t`acilitate the appeals process With that in mind consider the following three facts.
a. On 2!1!2018, T he Woman Divorce and Family Law Group LLP motioned for
and Judge Edward A. Arce entered an order, sealing and impounding the entire case

tile. This prevents Carleton B. Syph II t`rom appealing any decisions; which

13

 

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satisfies the irreparable harm factor considered when deciding to enter an
injunction

b. On 3130!2018, Beerrnann Pritikin Mirrabelli Swerdlove LLP motioned for and
Judge Edward A. Arce entered an order, barring Carleton B. Syph II from filing
any additional pleadings This prevents Carleton B. Syph II from defending
himself in court against any claim levied against him. The balance of harm clearly
leans toward Carleton B. Syph lI, in this regard.

c. 0n 6f?t2018 Judge Edward A. Arce ordered Carleton B. Syph H to sign an affidavit

attesting to the fact that he destroyed all evidence of the fraud or pay the
perpetrators 525 per day for everyday until he does so. This would essentially
destroy all evidence of the crimes and injustices which have already been
committed This surely would not be in the best interest of the gublic.
“Ir is clear from the legislative debates surrounding passage of § 1983's
predecessor that the Aet was intended to enforce the provisions of the Fourteenth
Arnendment "agot`nst State action,... whether that action be executive tegisintt've,
or g`udt'cial.... Proponents of the legislation noted that state Conrts were being
used to harass and injure individuals either because the state courts were
powerless to stop deprivations or were in league with those who were bent upon
abrogation of federn!l y protected rights ” Mitchum V. Foster at 240

d. The culmination of the facts listed in the previous sub paragraphs are not only a
perfect example for why Congress enacted 42 U.S.C. § 1983, because the
defendants have either schemed to interfere with service of the summons or have
simply chosen not to respond to the claims in the complaint, Carleton B- Syph II
should be granted the motion for default judgment on Count I and Count HI. The

latter of which; satisfies the likelihood of success factor; that must be considered

when entering an injunction

19

 

 

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37. The defendants seem to have become so agitated with the facts which proves that a fraud

38.

39.

upon the court has occurred, they’re more inclined to implement the measures in 36(a),
36(b) and 36(c) than simply void the orders Without the intervention of this court. there's
no reason to believe the pattern of actions by these individuals, which have grown in their
profaneness to the administration of justice, will change. That said, we believe that only
by the slimmest of margins, the injunction requested would be more beneficial to Carleton
B. Syph l] than it would be for the legitimate administers of justice in the Circuit Court of
Cook County.

Proponents of the legislation noted that state Courts were being used to harass and

injure individuals ...because the state courts were powerless to stop deprivations...

of federall y protected rights " Mitchum V. Foster at 240

Conclnsion

It’s fitting for me to conclude this pleading almost how it' began, by asserting that the
institution of marriage and what it means to be a family in both form and perception is
different Consequently, the whole idea of divorce and single parenting, or more
appropriately put co-parenting, in both form and perception is different Based on recent
developments in Cook County specifically1 it's more important than ever for this court to
keep in mind the constitutional ramifications of this change in perception and forrn.

The business surrounding domestic relations is a high yield unregulated industry. One
where the benefits of operating as officers of a private business are interchangeable with
the authority and immunity afforded a government function. When convenient these
officers assert the authority and immunity of the govemment, then put on the hat of a

private company to evade the restrictions an objectivity expected of a government function.

29

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40.

41

`To understand the argument here_ consider the following excerpt from an invoice submitted
as part of an affidavit to support a petition for the award of attorney fees under 750 ILCS

5!508(|)).

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availment-immunitiesin

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himl "'"'

 

Was this attorney operating as an officer ofthe court when she deployed “Sandy Smith" to
scam this citizen out of information the lllinois Department of Employment Services would
not provide? To understand the concern. the court must ask what does that scam to deprive
a person of private information look like? The possibilities are limitless. liowever; the real
issue is whether the individual was operating as an officer of the court or as a private
citizen. If` she was operating as an officer of the court when she ordered Sandy Srnith to
scam Michael, and the court awarded her petition for attorney fees, wouldn`t this be
evidence of an effectuated conspiracy to violate Michael's Fourth Amendment rights? If
she was operating as a private citizen_. then ] guess the question rest with what the court

considers "`unreasonablc scarches".

.Wondering whether this is an isolated situation? Don’t; instead consider the following

order written up by the Woman`s Divorce Family Group LLP and signed by Judge Edward
A. Arce, not for the content of the order, but instead consider the form of the form itselt`.

I’ve included boxes around the areas ofi`nterest.

 

 

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[N TH`E CIRCUIT COURT OF COOK COU`N

 

 

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Judge s 1\0

DOROTH\' BRCIWN, CLERK OF THE CIRCUIT COURT OF COOK COUNTY, ll..Ll'NOIS

42. Now consider the following order on 3/30!2018, again not for the content, but instead

consider the form of the form itself. I’ve included boxes around the areas of interest.

22

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43. This is the third page of a three-page carbon copy form already partially pre-printed with
the Circuit Court of Cook County and the law fimi’s credentials on it. It’s designed to
integrate with the courts internal procedures for capturing and communicating orders.

Note that the law firm credentials on this form corresponds with the law firm who wrote

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up the depicted paragraph first mentioned in paragraph 20 of this pleading and shown again

below.

filed on 2.“'23!018 b ' attorne s at Beermann_i_l’ritkin Mirrabelli SwerdloveLLP _

      

17. As a result of Carleton`s conducL Michclle has expended over $50,000 in

    

attorney’s fees since the Judgrnent for Dissolution of Marriage was entered by this Court on lilly

  
 

22, 2014, of which $33,000 was expended in 2017 alone. Sl:ie has spent another $3,500 to retain

 

44. The federal question here is after informing the court and Beermann Pritikin Mirrabelli
Swerdlove LLP that he was attempting to serve a summons can Beermann Pritikin
Mirrabel|i Swerdlove LLP now hire Sandy Sniith to scam Carleton B, Syph ll into
providing information about thc complaint he`s trying to server before he serves it'?'

45.. Of course, l don`t know these answers but l do know the recent changes in the Cook
County Domestic Relations division are not only monumental, but both responsive and
engineering The change moves a mostly objective administrative activity, which has
traditionally been managed by people whose job is secured by their adherence to a written
job description and union representation, to an adjunctive proceeding presided over by
those whose job security is political in nature. and to some degree dependent on political
contributions from the legal professionals that appear before them. Again, I express no
opinion about the appropriateness of the change and only bring it up in the context of this
pleading, to support that granting the relief requested in Carleton B. Syph II’s 42 U.S.C. §
1983 is in the best interest of the public.

Proponents of the legislation noted that state Courts were being used to harass and
injure individuals because the state courts were powerless to stop deprivations
ofjederall_i-' protected rights " Mitchum V. Foster at 240

46. When viewing Exhibits W, X, Y & Z_. remember the following

r\..i
LJ|

 

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a. "Miclielle iltut'ra_i-' nos spent over § 7tl,(lt'lf') ii-'itlt the attorne_i's mentioned in tliis
contplaint,' about $33.000 i'g_)"ii-‘liicn l)_t-' her own account ii'as spent in ZOi 7 alone
To put those figures into perspective ifnone oftlte judge-intents in the state court
are changed ii-'liit.'lt l reiterate Carleton B. Si'pli lt 'sjederal complaint does not ask
this court to do, all ot`tlte nionet" lie has spent and it approaches ali tile nione}-' lie
will ever spend on child support for his iO-}-'ear-old daughter has alreudi-‘ been
given to tile laii-'yers in this complaint "

b. While a significant number that represents or approaches the tnaji`orit:i)l will
consider Argutnent #l, 2(0). 2(b) and 3 (tliejirstjbur arguments} presented in
Carleton B. Syph ll ’s 1203 Motion to Reconsider to in fact be an attempt to bring
to the courts attention an error in law and misapplications oftliefacts, there will
be those who will not only view it as the opposite but will consider it as an
attempt to harass the litigant and attorney 's they 've ruled in favor oj.`

TH.E C`OURT.' All nght. I don't need to hear from the other side The motion to reconsider. the 1203. addresses
areas of law that the C‘oiu‘t inade. or misapplication of the facts. l\'othi`ng that I just heard from Mr. Syph. or iii his
motion to reconsider. which Iread before coming out. deals with errors of neither aspect `l'he case that I heard

was a case where he was asking to modify a support order. I found that my findings in the order indicate that he
failed m establish that there was a substantial change of circumstances as to him. And based on that alone. there
was no basis lo modify the order which he requested So there is no -- that l henrd. no errors of law that I made
no misapplication ot`the facts The t`acts are actually fairly simple

 

Name Under the penalties as provided by law pursuant to Section 5/1-109 ol` the Code of Civil
Procedure, the undersigned certifies that the statements set forth in this instrument are true and
correct, except as to matters therein stated to be on information and belief and as to such matters

the undersigned certifies as aforesaid that sheihe verin believes the same to be truc.

Respectfully submitted by,
CARLETON B. SYPH ll

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Pro se P|aintiff

Date: 9 2 2018

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Carleton B. Syph II

848 Dodge Ave #426

Evanston, II_. 60202

Telephone 224-?25-0?65

Email: greencrlaundry@gmail.com

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Exhibit A

Excerpt from collateral pleading "Judge Edward A. Arce Conduct up to and following the
hearing."

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Disclaimer:
The following is an excerpt from a pieading directly challenging state court judgments; which
the purported Roolcer-Feldman doctrine at least encourages this court to abstain considering
it's reasonable to expect some overlap in arguments aimed at attacking state court judgments
with those levied in a 42 U.S.C. § 1983 compliant seeking federal redress for constitutional
violations in state court proceedings While l caution that this is not an official pleading as
you ’il find reference to paragraphs and exhibits which are not included with it l ’ve added the
( 735 ILCS 5/1-109) Certijication to attest to the authenticity of the arguments and evidence
within.
Count IV
Rule 63 ~ CANON 3
A Judge Should Perform the Duties of Judicial
Office Impartially and Diligently

Deliberate excess of jurisdiction

l. Had Judge Edward A. Arce been diligently performing the administrative and adjunctive
responsibilities of the judiciary as outlined in lll. S. Ct. R. 63(A)(9) and Ill. S. Ct. R. 63(3)
between 5l20l2016 and 2/09i201'i', the arguments and corresponding evidence presented in
the trial court and then again in the preceding paragraphs of this pleading, would do more
to support why this case should have never escalated to a level requiring this Court’s
intervention

2. To understand the previous paragraph, it’s argued had Judge Edward A. Arce been

adjudging patiently as out line in rule 63 Canon 3 A (3) l the 3!22!2017 the hearing date

 

1 Ruie BSIA}{S} Ajudge should be patient, dignii`led, and courteous to litigants, jurors, witnesses |awyers,
and others with whom thejudge deals in an official capacity, and should require similar conduct of lawyers,
and of staff, court officials and others subject to thejudge’s direction and contro|.

 

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would not have been set on ll26l2017. As he would have provided Michelle Murray and
Attorney “Dworkin” yet another order of continuance in order for them to tender proof
of 2016 income as required by Cook Co. Cir. Ct. R. 13.3.1 and Cook Co. Cir. Ct. R.
13.3.2. However; it’s equally important and indicative of the uniqueness of this case to note
here, that such patients would not have equated to the impartiality that can be deduced from
111. S. Ct. R. sata)(si).2

3. In iact, because written within Cook Co. Cir. Ct. R. 13.3.1 and Cook Co. Cir. Ct. R.
13.3.2, are rules for when mandatory disclosure and proof of income must be tendered,
granting yet another order of continuance for Michelle Murray and Attorney “Dworkin”
on 1!26/201? without a 219 Sanction which is also a part of those rules would have actually
been reflective of a lack of impartiality; if not a biasness in favor of the party whose efforts
were aimed at circumventing Cook Co. Cir. Ct. R. 13.3.1 and Cook Co. Cir. Ct. R.
13.3.2.

4. For the reason mentioned in the previous paragraph the healthy level of skepticism
Carleton B. Syph II maintained about the judge’s impartiality was to some extent cast
aside, in exchange for a belief in an impartial judiciary; when he accepted Judge Edward
A. Arce decision to set the 3l22l201’l court date without requiring Michelle Murray and

Attorney “Dworkin” to satisfy his 6l7l2016 order to be reflective of the judge’s

 

1 Ru|e 63[A}{9] Ajudge shall perform judicial duties without bias or prejudice A judge shall not, in the
performance ofjudicia| duties, by words or conduct manifest bias or preiudice, including but not limited to
bias or prejudice based upon race, sex, religion, national origin, disability, age, sexual orientation or
socioeconomic status, and shall not permit staff, court officials and others subject to the judge’s direction and
control to do so.

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professional competence3 As there is language within the rules themselves which explains
that failure to comply with the rules is not a justifiable reason for continuing the hcaring.“

5. Rather than allowing counsels and their clients, to slow down the judicial system with
repeated delays and lofty arguments against providing discovery andlor adhering to the
rules outlined in Cook Co. Cir. Ct. R. 13.3.1 and Cook Co. Cir. Ct. R 13.3.2 as Michelle
Murray and Attorney “Dworkin” had been doing between 7!26)'2016 and 1126»"201?;
within the rules are remedies for a judge to protect citizens from this type of abuse.
Remedies which essentially allows a trial to be held. even if the party fails to satisfy the
mandatory disclosure as outlined in Cook Co. Cir. Ct. R. 13.3.1 and Cook Co. Cir. Ct.
R. 13.3.2.

6- The specific remedies available to ajudge when a party refuses to comply with Cook Co.
Cir. Ct. R. 13.3.1 and Cook Co. Cir. Ct. R. 13.3.2. are spelled out in lll. S. Ct. R. 219.
In fact, on 1!26!201')' when Carleton B. Syph II explained to the judge what impact the
opposing party`s failure to satisfy the rules out as outlined in Cook Co. Cir. Ct. R. 13.3.1
and Cook Co. Cir. Ct. R. 13.3.2 would have on his ability to present his case; as reason to
delay setting the heating date, Judge Edward A. Arce explained that if Michelle Murray
and Attorney “Dworkin” didn’t satisfy the 6!?!2016 order, he would expect for Carleton
B. Syph ll to move to bar testimony The judge’s suggestion not only aligned perfectly

with the remedy outlined in Cook Co. Cir. Ct. R. 13.3.1(c) 5 and Ill. S. Ct. R. ‘..’,lil(c](iv)'s

 

3 Ruie 63(Aj{1] A judge should be faithful to the law and maintain professional competence in it. Ajudge
should be unswayed by partisan interests, public clamor, or fear of criticism.

“ County Cir. Ct. R. 13.3.1 [c) ...Fai|ure to comply shall not be sufficient cause for a responding party not in
compliance to obtain a continuance of the hearing

5 County Cir. Ct. R. 13.3.1 {cj Failure of a party to timely serve the "Financia| Affidavit" shall subject the
non-complying party to such sanctions as the court deems appropriate, including all sanctions available under
illinois Supreme Court Rule 219.

"‘ l|l. S. Ct. R. 219(c} Failure to Comp|y with Order or Rules. if a party. or any person at the instance of or
in collusion with a party, unreasonably fails to comply with any provision of part E of article ll of the rules of

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but was also considered by Carleton B. Syph II to be reflective of both the judge`s
professional competence as outlined in Rule 63(A)(1) and fairness as can be deduced from
Rule l.‘ili(l’t)(4)7r .

7. This is why it’s argued here, had Judge Edward A. Arce been Performing the duties of
.l udicial Office lrnpartially and Diligently on ll26l201'l, when Carleton B. Syph II
explained that all discovery had not been exchanged. he may have still set the 3!22!2017
court date without requiring Michelle Mut'ray and Attorney “Dworkin” to satisfy his
6l'll20| 6 order. Had Judge Edward A. Arce been Performjng The duties of J udicial Office
Impartial|y and Diligently. when presented with Carleton B. Syph II’s Motion to Compel
them to do so on 2l09l2017, he may have still let the 3!22!201? hearing date stand without
entering an additional order requiring the opposing party to adhere to his 6l7l2016 order.

8. That said, there was no reason to believe nor was there any justifiable reason to support
why Judge Edward A. Arce would deny both Carleton B. Syph II’s motion compelling
Michelie Murray and Attorney “Dworkin” to comply with his 6!”.+'»‘2016 order and his
motion to bar their testimony for failing to do so. None-the-less his decision to deny both
motions on the day of the hearing, in theory amounted to a failure to observe the safeguards
to ensure a fair hearing', which played out in practice as expected As Miehelle Murray
and Attorney “Dworkin” were allowed to testify and present arguments about the

authenticity of Carleton B. Syph II’s petitions and the truthfulness of his financial

 

this court {Discovery, Requests for Admission, and Pretrial F'rocedure} or fails to comply with any order
entered under these rules, the court, on motion, may enter, in addition to remedies elsewhere specifically
provided, such orders as are just, lncluding, among others, the following: (Iy] That a witness be barred from
testifying concerning that issue.

l Rule 63[Aj{4j A judge shall accord to every person who has a legal interest in a proceeding or that
person’s |awyer, the right to be heard according to law. Ajudge may make reasonable efforts, consistent with
the law and court rules, to facilitate the ability of self-represented litigants to be fairly heard.

 

 

 

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disclosure; while on the other hand Carleton B. Syph II was only allowed to reference
financial information tendered by Michelle Murray and Attomey “Dworkin” that he
knew was false. Normally such a situation, would work out in favor of the truthful party
proving in open court the false testimony of the opposing party. However; in addition to
denying Carleton B. Syph lI’ motion to bar their testimony for not satisfying his 6!?!2016
order which allowed the opposing party to testify and challenge the authenticity of his
disclosure the judge admonished Carleton B. Syph II for proving in open court that most
the statement tendered leading up to the trial and during the trial was false.

Cook Co. Cir. Ct. R. 13.3.1 and Cook Co. Cir. Ct. R. 13.3.21 are not discretionary their
compulsory. Therefore, failing to enforce these rules before the hearing can’t even be
considered an abuse of discretion. Instead, presiding over a hearing without enforcing these
rules was simply an excess of jurisdiction; which among other things renders any
judgement that arose from it void.

The actions and decisions spelled out in the previous paragraphs, is indicative of the _tyj:§
of prejudicial trial conduct that would later prompt the filing of a 735 ILCS 5!2-1001(3)(3)

Petition to disqualify Judge Edward A. Arce.

Count V

Rule 62 - CANON 2
A Judge Should Avoid Impropriety and the Appearance
of lrnpropriety in All of the Judge's Activities

Encouraging Periu§y and Fraud

It`s more important in this final count to explain that there is a significant overlap between the
fraud upon the court perpetuated by Michelle Murray and Attorney Dworkin to procure the
3.+'2 '?."201 7 judgment and the fraud upon the court perpetuated by Michelle Murray and the

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Women’s Divorce and Family Law Group by Haid and Tiech LLP which was aimed at
covering up the scheme.

This overlap is why in Count I, II, III, & IV which is more heavily focused on the scheme to
procure the 3!2?!201'? judgement, there are references to Attomey Dworkin’s actions and
pleadings after she had been officially substituted out for Attorney “Dworak” and others at
Women’s Divorce and Family Law Group by Haid and Tiech LLP

lt’s important to reiterate that fact in this count, because as explained both were encouraged by
Judge Edward A. Arce, who consciously or subconsciously ignored Carleton B. Syph ll’s
warnings that a scheme was occurring, then admonished and had him arrested in part for proving
it beyond a reasonable doubt.

ll.

12.

While by no means should the arguments or the ideals expressed in this count be mistaken
for excusing the attorney’s from perpetuating a fraud upon the court. However; it’s
important to state the success of the frauds were to a large extent made possible by a judge
lacking the impartiality expected of the judiciary A judge who when presented with
evidence informing him that Michelle Murray and Attorney “Dworkin” were refusing
to satisfy his 6.+'?!2016 as part of a fraud aimed at circumventing Cook Co. Cir. Ct. R.
13.3.1 and Cook Co. Cir. Ct. R. 13.3.2, chose to ignore similar warnings of the fraud being
perpetuated by Michelle Murray and the Women’s Divorce and Family Law Group by
Haid and Tiech LLP to cover it up.

Rather than reflecting even in the least bit a Judge standing straight up on the principles of
justice and natural law, by ruling in a way that exalts truth and fidelity; no reasonable
person would mistake the collection of rulings, in court statements nor conduct to reflect
in the least bit that outlined in Rule 62(A)a. [n fact, all of Judge Edward A. Arce’s
decisions and rulings before and even after the frauds were proven are overtly in favor of

the partyi'parties who perpetuated the fraud in his court.

 

a Rule GZ(A} A judge should respect and comply with the law and should conduct himself or herself at all

times in a manner that promotes public confidence in the integrity and impartiality of thejudiciarv.

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13. Once a lawyer accepts a retainer or engagement, they are obligated to ensure that the law
is interpreted in a way most advantageous to their client, even if that interpretation
contradicts their own personal views about how the law is applied 9 Surely as alluded to
in Rule 1.16 and Ruie 4.1 a lawyer is equally obliged to proactively withdraw or terminate
their relationship when their representation has been misused or begins to reflect a service
in direct violation of the professional standards in place, as failure under the most profane
circumstances subjects them to inquiry or worst. m “ '2 However; in practice once the
retainer is accepted the only way for anyone to believe that an attorney will be relieved of
the responsibility of interpreting the law outside of what’s best for their client, is if the
judge relieves them of it by disqualification and)'or sanction.

14. The previous paragraphs among other things is why I find it important to direct this
tribunals attention to statements depicted below from a MOTION TO DISQUALIFY,

I'IOLD IN CONTEMPT AND!OR SANCTION COUNSEL filed 7112:'2017 and

 

g Preamb|e: a Lawyer's Responsibilities [2]....As advocate, a lawyer zealously asserts the client's position
under the rules of the adversary system...,

‘° RULE 4.1 |n the course of representing a client a lawyer shall not knowingly: {a} make a false statement
of material fact or law to a third person; or (b) fail to disclose a material fact when disclosure is necessary to
avoid assisting a criminal or fraudulent act by a client, unless disclosure is prohibited by Fiule 1.6.

11 RUI.E 1.16 (b) a lawyer may withdraw from representing a client if: (2) the client persists in a course of
action involving the lawyefs services that the lawyer reasonably believes is criminal or fraudulent; [3| the
client has used the lawyer’s services to perpetrate a crime or fraud;

12|||. R. Prof’l Conduct {2010| R.1.2 cmt. 11 (eff. lan 1, 2016) When the client’s course of action has
already begun and is continuing the lawyer’s responsibility is especially delicate. The lawyer is required to
avoid assisting the ciient, for example, by drafting or delivering documents that the lawyer knows are
fraudulent or by suggesting how the wrongdoing might be concealed. A lawyer may not continue assisting a
client in conduct that the lawyer originally supposed was legally proper but then discovers is criminal or
fraudulent The lawyer must, therefore, withdraw from the representation of the client in the matter. See Rule
1.16(al. in some cases, withdrawal alone might be insufficient lt may be necessary for the lawyer to give
notice of the fact of withdrawal and to disafiirm any opinion, document, affirmation or the Iike. See Ruie 4.1.
ln such situations, the lawyer should also consider whether disclosure of information relating to the
representation is appropriate See Rule 1.5(b).

 

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MOTION TO CONT[NUE HEARING DA'I`E JULY 281 2017 filed '?112!2017 (See

Record Page C 1067 w C 1091 *"Motions")

(See Record Page C 1071 - C 1072)

_ l While a significant number of the improprieties and corresponding sanctions/remedies
' have been specifically laid out by me in petitions motions and responses: there are a
number of other acts and decisions were the distinction between the hamm
and M_mmdgg` is less clcar. While the latter can bc pointed out by a prose

litigant or otherwise, l think it' s fair to say that language like that in Rulcs 2l9 which in
pan states:

".-.I.he court. upon motion or MM, may impose upon thc offending
party or his or her attorney, or bot.h. an appropriate sanction"

is intended to inform the public of the active role judges take in sanctioning a party andfor
their attorneys for improprieties Taking the initiative to sanction. especially when
presented with evidence of professional misconduct committed against a prosc litiganl,

does more for maintaining the trust in the judicial system than my solicited sanction ever
will.

 

(See Record Page C 1087)

d) There is either no question or very little question presented by the opposing party that
improprieties have oocm'red, felony perjury is just one of the many facts. that arc supported
by undeniable evidence The main query up until recently was focused on to distinguish _
those improprieties Michelle Munay and Sheryl Dworkin were jointly responsible for.

from those which can be assigned to them separately This distinction has recently become
ever more complicated with the recent addition of Women’ s Divoroe & I-`amlly Law
Group by Haid and Teich, LLP (Michellc Dworak) and what appears to be her!thcir -
role in ~ onthcsame -ttemofmisoonduct.

 

15. The arguments in the previous paragraphs along with previous depictions from pleadings,
serves to affirm that a trial court judge is not only obligated by the rules laid out in the
Code of Judicial Conduct, but is also empowered with tools necessary to preserve and
promote the impartiality of the judiciary in the eyes of the public. That said, this
affirmation should not be mistaken for a prosc litigant attempting to bring attention to what

is already known by the judiciary, especially so for those at the highest level. Instead, if

 

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presented correctly it should be received as evidence of a prose litigant believing it to be
truc.

16. The latter is of particular importance to the arguments in this pleading, because it’s argued
that Michelle Murray and her attorncy's unabashed and rather audacious attempts to
deiile the court, was predicated on Judge Edward A. Arce openly proclaiming that he
wasn’t reading the arguments and corresponding evidence presented in the pleadings
These proclamations served as the primary source of the healthy level of skepticism
Carleton B. Syph ll maintained about the judge’s impartiality, which was first mentioned
in Count IV 13.

17. This proclamation by the judge was not made just oncc. but during several different court
appearances between 5)'20)'2016 and 7128}201?, including on the day of the 3!22!201?
hearing, when the judge again explained that he had not read the courtesy copies of the
2!9!2017 Motiorl to Compel, 2f9)'2017 Motion to Strike the Motion to Compel or the
3!20)'2017 Motion to Bar testimony he explained on 2f9)'201? he was going to decide on

before the hearing

 

(See Record C 550 from “2!29)"2017 Order")

 

13 Paragraph 100 “.., the healthy level of skepticism Carleton B. Syph ll maintained about the judge's
impartiality was to some extent cast aside, in exchange for a belief in an impartial judiciary“

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18. It’s comfortably believed that the proclamations made between 5!20!2016 and 3)'22!201')'

19.

were not directly responsible for prompting Michelle Murray and Attorney Dworkin to
lender two false financial affidavits and three false tax returns. However; it's reasonable to
believe the judge‘ s proclamation emboldened if not encouraged Michelle Murray and her
attorney's to so crassly move forward as if they had not been provided with indisputable
evidence that Michelle Murray had committed “Perjury” as outlined in (735 ILCS 5)'1-
109)“ 15, not on just one Financial Afl'idavit but on both Financial Aff`idavits in efforts
aimed at defeating a Petition to Modify a $500 per moth Child Support Order.

Carleton B. Syph II on the other hand for many reasons found the judge’s open
proclamations hard to believe. The most easily understood among them, is the fact that the
judge includes a COURTESY COP¥ RULE in his standing onder. As a litigant, a prose
litigant at that, listening to the judge repeatedly explain that he was not reading the courtesy
copies, his courtesy copy rule was entered to help facilitate, along with the fact that Judge
Edward A. Arce explained that he’d expect a motion to bar Michelle Murray and
Attorney Dworkin from testifying during the 3)'22!201'? if they didn’t satisfy his 6!7!2016

order, only to deny the motion to bar when presented to him, Carleton B. Syph II was

 

l“('1'35 lLCS 511-109]...Any person who makes a false statement, material to the issue or point in question,

which he does not believe to be true, in any pleading, affidavit or other document certified by such person in
accordance with this Section shall be guilty of a C|ass 3 felony.

15 {730 ll.CS 5/5-4.5-401 CLASS 3 FELON!ES; SENTENCE {a} TERM. The sentence of imprisonment shall be a

determinate sentence of not less than 2 years and not more than 5 years.

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20.

21.

22.

left with few if any options more viable than penning the 5112!201? letter he sent to Chief
Justice Evans. Along with it, as indicated in the letter was a black three ringed binder
mailed via FedEx to the Chief Justice office; which included many of the courtesy copies
Judge Edward A. Arce explained that he wasn‘t reading (See Exhibit B Chief Justice
Letter].

So. when Judge Edward A. Arce during a Friday afternoon 612!201? emergency court
appearance set by the Attorney “Dworak” of the Women’s Divorce and Family Law
Group by Haid and Tiech LLP, again explained that he had not even read the courtesy
of copy of 5»"2!2017 Motion to Reconsider that he was scheduled to enter a ruling on the
Monday morning of 6!5!201?, it became ever more challenging for Carleton B. Syph II
to not immediately consider these assertions by the judge to reflect, either a biasness in
direct contrast to Ill. S. Ct. R. 62(A) andfor evidence of the Judge’s inability to manage
the administrative responsibilities of his court as outlined in Ill. S. Ct. R. 63(B).

Either way, when one considers that Judge Edward A. Aree was telling the opposing
party that he was n_ot reading the pleadings and supporting evidence, which began to inform
the court about the possibility of fraud as early as 9!9!2016 before finally proving it beyond
a reasonable doubt by 6!5.»'2017, while not excusing counsel’s efforts in assisting with
fraudulent acts, its rather easy to understand their reason for going forward with helping
their client commit a fraud upon the court.

It’s argued that the confidence to move forward with the scheme; which started with efforts
aimed at circumventing Cook Co. Cir. Ct. R. 13.3.1 and Cook Co. Cir. Ct. R. 13.3.2 by
false pretense, escalated to efforts aimed at intimidating Carleton B. Syph II from

conducting the discovery which would prove it, before finally graduating into efforts

 

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focused on covering up the crimes, was heavily based on the judge`s open proclamation

that he was not looking at the evidence of the scheme while it was occurring

f/ al "
(see Record Pagec 1067-c 1091) /»,,¢w 41 ‘/

A scheme which is predicated on an idea that the
circuit court is so overburden. that it is unable to keep track of who was heard when,
and what was decided One where an officer of the court entrusted by the judge to

maintain the integrity of the justice system, misuses that trust to mislead the judge

into believing mamm-

 

23. ln addition to my words included in this pleading. one needs to only consider the Judge`s
own words to back up my assertions about him openly proclaiming that he wasn`t reading

the courtesy copies of the pleadings and evidence presented to him.

7)*28/2017 hearing page 56 lines 12 - 13

   

 
    

THE COURT: A pleading ia a pleading. He can

   

put anything that he wants in a pleading.

 

24. When you consider the above statement along with the fact that most every pleading filed
under 12D00916? is certified under (735 lLCS 5!1-109), the sentiments expressed by the
judge are indicative of an indifference toward the truth and evidence expected to be
presented in pleadings

25. To understand the point being made here, I suggest that it would not have been all that
different if the judge would have said "An affidavit is an A_f]idavit. He can put anything
that he wants in an Ajidavt't. " As the same (735 ILCS 5!1~109) Certification used to assert
the trust worthiness of the two false Financial Affidavits tendered by Michelle Murray

and Attorney Dworkin, wasfis used to certify the trust worthiness of the pleadings

 

 

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26.

2")'.

28.

In addition to considering the judge‘s cavalier perception of the (735 ILCS 5/1-109)
Certification listed on just about every pleading as reason to believe me, when l say the
judge was deliberately ignoring the clear evidence of perjury and fraud when making his
rulings; l argue for a judge to openly proclaim that a litigant can put “anything that he
wants in a pleading essentially makes the entire Ill. S. Ct. R. 137 sanction obsolete. 16
Maintaining such a position on the most basic of levels encourages slander, on the next
level up it allows the type of harassing litigation waged by Michelle Murray against
citizens of the state of ]llinois, which is complemented by granting a license to the legal
profession to not only vexatiously multiply proceedings, but help their clients commit
perjury and fraud when doing so. For how can one prove perjury and fraud in any case not
to mention a Domestic Relations proceeding, if it’s not in and by the pleadings filed?

I argue in advance that the Judge’s words were not taken out of context, by providing the

following statements made by the judge on 9»"18!2016.

ROP 9118!2017 hearing page 15

 

xiRu|e 137 permits the circuit court to impose sanctions on a party or attorney for "fi|ing a pleading,

motion, or other paper that is not well grounded in fact and warranted by existing law or which has been
interposed for any improper purpose." ln re Marriage of Ad|er, 271 ll|. App. 3d 469, 476 {1995}. The purpose of
the rule is to discourage the pleading of frivolous or false matters and the assertion of claims without any basis
in the law, by penalizing attorneys and parties who engage in such conduct. Ba|cer v. Daniel S. Berger, Ltd., 323
ll|. App. 3d 956, 963 {2001}.

 

 

 

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29.

30.

31.

32.

Let:'s assume that everythign you sal-

to me is true. Maybe I can sanction her for

providing false documents. I'rn not saying l can or

I can’e. Buc thet's a sanction isaue. These are

all »- what we are here for today is a purge of your

contempt .

 

l first point to the 60+ pages of transcripts1 then to the 91 lS/ZOI? Order itself (See Record
Page C 1127 "Order“) to highlight the 7 if not 8 decisions the judge was being asked to
make and did eventually make that day.
Second, so much of what I said had been proven true by indisputable and undisputed
evidence included in the pleadings there was no need to assume anything was true.
Third. l argue that it's reasonable to consider the Judge’s statements on 7/28/2017 where
in which he explains that a pleading isjusr n p!eaa’ing, along with the expressed reluctancy
to sanction the opposing party on 9!18,"2017 as depicted above, is either evidence ol`a lack
of impartiality that brings the judiciary in disrepute or logic compass which surely cannot
be mistaken for promoting public confidence in the integrity of the judiciary as outlined in
Ill. S. Ct. R. 62(A).
To understand the point being made here, Judge Edward A. Arce statements on 7;’28:*201 7
and 9/18!2017 would be the equivalent to the S.E.C explaining to group of disgruntled
investorsl
“Le£ 's assume everything you 're saying is rrue. This Corporation filed false
financich statements and the public accountant firm hired to audit those financial

statements helped them do it. Maybe we can hold the corporate ojicers and

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33.

34.

auditing firm responsible for the fraud. We ’re not saying that we can, or we can ’t
but that 's a crime, what does that have to a'a with financial hardship yoa're
complaining about
This is especially true when you consider Judge Edward A. Arce was willing to
considered entering Ill. S. Ct. R. 13'Tsanctions against Carleton B. Syph II, for proving
beyond a reasonable doubt, what he suggested the parties assume to be true to make his
point.
If evidence supporting the opposing party committed perjury and fraud leading up to the
3l22!201"l hearing, by tendering 2 false Financia] Aff'idavits and filing 3 false Tax Retums
whether it be in “its proven form or the assumed to proven be form” played no role in the
Judge’s decisions entered on 302/2017 and affirmed on 'ilZS/ZOI?, it's reasonable to ask

what did? There’s no need to guess, Judge Edward A. Arce tells you

9}18)'2017 hearing page 15

 

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the -- what Ms. Murray or whatever documents you
offered with respect to Ms. Murray or were unable to
offer because it didn't comply with the rules -- to
really be relevant for this reason. The petition
that you filed is based on a substantial change of
circumstances as it related to you, and that was the
petition you filed.

It really had nothing to do with her.
So when we had our hearing, it was your burden to
establish that you had a substantial downturn in

business. I think your allegation was you lost a

big customer, and I recall that you had no evidence

of it at all. So. therefore, I denied your

petition.

 

35. Without rehashjng the preponderance of truthful, verifiable and never sufficiently
challenged evidence proving that a change in Carleton B. Syph II`s circumstance had in
fact occurred, as well as the Judges own words written in the 3)'27)'2017 judgment which
completely contradicts his statements that Carleton B. Syph II had “no evidence at all“ to
prove it, l instead direct the courts attention to his 5l20l2016 Petition to Modif`y Child

Support, as it states clearly as shown below.
PETITION FOR MOD]FICATION OF CHILD SUPPORT

(Record Page C 323)

 

 

 

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S.Slneetl'ieentryufthiso__rder,therehmbeen -,1~~1'.¢1\.-. -_
lustifytheimmedlatemodiflcationofthe€hild$upport -

WHEREFORE, l requestl

That the Court increase _X_ discuss the existing level of Ch` -
reflect the changes in the partls' obligations conl.iit'lol'isl and abll -¢

 

36. Unlike Michelle Murray and Attorney Dworkin, Carleton B. Syph ll has neither the

3?`.

resources to hire private investigators nor thc desire to be following Michelle Murray
around to try and “scam" her into providing evidence to support a change in her

circumstances (See Record Page C 902 “Dworkin lnvoice for Scamrning").

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!“'ll

 

Instead, as a matter of preserving his Petition to Modify Child Support which on 7)‘7;’20]6
Michelle Murray and Attorney Dworkin moved to strike. Carleton B. Syph ll provided
the only verifiable evidence of a change in circumstances at that time; which was an entail
from one of his customers lt‘s argued here, that providing the only verifiable change in
circumstances did not, as alluded to by Judge Edward A. Arce on 9:“ 18!201? forfeit
Carleton B. Syph II’s nor the courts’ right to consider a change in Michelle Murray`s

financial circumstances when detemiining if` a modification was warranted

 

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38. ln fact, Cook Co. Cir. Ct. R. 13.3.1 and Cook Co. Cir. Ct. R. 13.3.2; which requires an
“exchange of financial disclosure" when modifying post decree, is intended to insure. as
indicated in (750 ILCS 5/505) “(a) both parents owing a duty of support to a child " that
the financial circumstances of both parents are taken into consideration

39. To understand the point being made here, assume the shoes were on the other fool.

40. Let`s say, when the child support order was entered for case 12D009167 in 2013, Carleton
B. Syph ll was working form 2:00pm to 10:00pm Monday - Friday as a pizza delivery
man who drove a Ford Pinto. Then one Wednesday evening at about 9:30 pm, Michelle
Murray saw him out driving a 600 Mercedes Benz- She`d have a right to file a petition
seeking to modify Carleton B. Syph ll’s child support order, citing a “change in
circumstances”.

4l. Upon doing so, in line with Cook Co. Cir. Ct. R. 13.3.1 and Cook Co. Cir. Ct. R. 13.3.2
the judge orders an exchange of Financial Affidavits and Tax Retums. Michelle Murray
provides Carleton B. Syph II with a Financial Affidavit and Tax Retum showing that her
Gross income in 2016 was basically the same as it was in 2013. Then Carleton B. Syph
II provides a Financial Affidavit and Tax Retum to Michelle Murray showing that his
gross income in 2016 was basically the same as it was when the child support order was
entered in 2013. Michelle Murray begins to conduct discovery, to determine how
Carleton B. Syph II could afford a 600 Mercedes Benz payment on income equivalent to
what he was making as a pizza delivery man. and why he hadn‘t included the 600 Mercedes
Benz as an asset or liability on his Financial Affidavit. Responding to that discovery,

Carleton B. Syph II provides evidence that he changed careers and now works Monday -

 

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42.

43.

Friday S:OOprn and lO:OOpm as a valet driver, and the reason why he didn‘t list the 600
Mercedes Benz as an asset or liability is because he doesn’t own one.

The collection of financial information would be valid reason to deny Michelle Murray’s
petition to increase Carleton B. Syph II child support obligation

However; if upon conducting discovery Micl'lelle Murray finds out that Carleton B. Syph
II does own a 600 Mercedes Benz and rather than working as a valet driver, the Financial
Affidavit and the Tax Returns he tendered to her were false; as they failed to include
account balances and income from a winning lottery ticket he used to open a chain of valet
companies Then after verifying all of that, Michelle Murray argues that Carleton B.
Syph II committed felony perjury and tax fraud, in order to circumvent Cook Co. Cir. Ct.
R. 13.3.1 and Cook Co. Cir. Ct. R. 13.3.2; the fact that Carleton B. Syph II’s child

support obligation would most likely increase, should be the least of his worries. Right?

.While neither is advisable, the IRS is most likely going to fine and make him pay the

missing taxes, The judicial system on the other hand, both assigned the consequences for
violating the (735 ILCS 5/1-109) Certification and then ensured to include the (735 ILCS
5/1-109) Certil`lcation next to the signature on the Financial Affidavit to prevent everything
we‘re going through right now. When I say we’re, I’m referring to Carleton B. Syph II,

as well as the Cook County and State Courts.

 

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45 . While it’s argued that Judge’s statement “that a pleading is a pleading he can put anything
he wants in a pleading” reflects a cavalier perception of why there is a (735 ILCS Sl'l-
109) Certification in the first place, that statement it’s no less true than the fact that a person
can sell any type of drugs they want to, they can steal as many cars as they want to and
they can rob as many banks as they want to, too. However; if they get caught there are
consequences associated with those decisions and actions It’s for those reasons the and
consequences attached to the crimes that is, that I find it so astonishing, that the opposing
party who has at all times been represented by competent counsel. would be going out of
their way to escalate the issue to this level.

46. As indicated before this should not be mistaken for a prose litigant informing people who

do this for a living, that this is how the law works However; the audacity to so rigorously

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47.

attack Carleton B. Syph II petitions, with the proven perjury and fraud which not only
qualifies as a Class 3 Felony but violates a litany of professional conduct standards can
only be reasonably described as flaunting. That said, the previous example and to some
extent this entire pleading can be attributed to Michelle Murray and her attorney’s total
disregard for the written consequences; emboldened by a Judge openly proclaiming that he
was ignoring the evidence of their perjury and fraud. The latter of which; is easily
understood as communicating in advance that he wouldn`t hold them responsible for it.
That’s why it’s reiterated here that while nothing included in this pleading nor any other
should be mistaken as an attempt to excuse Michelle Murray and her attorneys of the
consequences, the jud ge’s conduct mentioned in this count served as a license for them to
commit perjury and fraud in his court.

Just as Judge Edward A. Arce explained on 91 18!201? that ‘sanctions’ was an option that
was available to him when presented with clear evidence of the perjury and fraud. The
option to find Michelle Murray in indirect criminal contempt as Carleton B. Syph II in
line with Cook Co. Cir. Ct. R. 13.8(a)[i)17 requested in writing on 5!12)'201'_)'. This is
especially true considering Judge Edward A. Arce granted Michelle Murray and her
attorneys’ an oral motion for leave to file for a direct criminal contempt number on
12!21!201'? as depicted below, without them providing any evidence of Carleton B. Syph

II violating any valid order or law.

 

“' {i] initiation - Al| requests for Ru|e to Show Cause, Adjudication of |ndirect Crimina| Contempt or

indirect Civil Contempt must be in writing, must specifically identify the order or provision alleged to have
been violated, and must be properly served on the responding party.

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48.

49.

 

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for direct criminal contempt . . failure.

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criminal contempt numee:.

TO continue the arguments before the example, I state to interpret a petition which clearly
states tha “a change in circumstances” has occurred and asks the court to decrease the
existing level “¢'n order to reject the panias’ obligation, conditions and abilities to
support the minor child”, as one which restricts both the litigant and the court from
considering the financial circumstances of the both parents as suggested by the judge on
9!18!'2017 and depicted in parggragh 81, is at best evidence supporting what the judge
had openly proclaimed many times; which was that he was not reading the pleadings and
evidence being presented to him.

While as explained before, that due to the COURTESY COPY RULES written in his
standing order, Carleton B. Syph II never believed that Judge Edward A. Arce wasn’t
reading the courtesy copies which included the evidence of the fraud being provided to
him; the words shared by the Judge during a hearing held on 3!30)'018, is not only additional
evidence supporting why he should not have believed him, but is indicative of the double
talk deliberation Carleton B. Syph II has been subjected to in case 12D009167 since the

beginning of 2013. 'I`he only difference in the deliberation between lfl.+'2012 and

 

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12/31!2015 and those exhibited between 5:"26£'2016 and 3!30)'2018, is that court transcripts
prove the latter.

50. To back up that argument consider

3/30/2018 Transcripts @ge 24 & 25

 

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paragraph :'ri_".¢.= '_.'; g;sairc-tq.'a_lo.'“v f'.,

 

51. What the transcripts can’t show, is from the time Judge Edward A. Arce is handed a copy
of the order underlined in the above depiction, including during Carleton B. Syph II’s
attempts to clarify, understand and explain, before finally being threatened with

incarceration for trying to do so as depicted below.

 

 

 

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THE COURT: Mr. Syph.

MR. SY?H: Heli, 1 …;nk as it relates to chain
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explained :c the ;udqe that -
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over the bond fund to the opposing par;y,

 

3!30!2018 Page 26

 

 

 

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Case: 1:18-cv-O4821 Document #: 25 Filed: 09/04/18 Page 54 of 110 Page|D #:537

3!30/2018 Page 27

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anyt\.'o else because 1 dnn';

 

Carleton B. Syph ll was watching Judge Edward A. Arce thumb through the October

2?‘h, 2015 order handed to him, as if as explained by the judge below.

3/30/§918 Trar_iscriot P_a_ge 40

 

 

the nunpv:

 

52. To understand the significance of this revelation of the depiction directly above and what
role it has played in escalating the proceedings in case 12D009167 to this level, it serves
this court well to know that all of Judge Edward A. Arce's mlings, in court statements

and questioning between 3/22/2017 and 3;'30£2018 including those surrounding his

 

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53.

$8,?'97.?7 judgement for attorney fees, have been conveyed as if as he had never seen the
October 27“1, 2015 order beforel

One needs only to consider Judge Edward A. Arce‘s open proclamations that he wasn`t
reading the courtesy copies of` the pleadings which included evidence of` perjury and fraud,
the fact that he was deliberating on the issues under the pretense that he had never seen the
10»'27;’2015 order before, along with the fact as depicted below the Judge makes no less
than 5 different references to the 10/2?!2015 order in his written 3!27/2017 judgement, to
understand Carleton B. Syph II’s reasoning for trying to gain a better understanding of

why thejudge was deliberating on the matter in the way in which he had.

l" Husbund has failed to establish that there was a reasonable cause orjustii`ication for his
failure to comply with the .~\grced t.>rdcr ot`Octobcr 27. Z'Jl5 l{usband`s conduct has
detected and impaired thc rights and interests ot`the \t'it`e_

l-'%. liusbartd similarly failed to comply with the provision of the Agr¢ed Urder ot‘Octobcr
2?_ 2015 that he pay 5573.00 towards the arrears ot`SlT.-lli 43. Perr'r;'.-¢m‘r ’s £-.r: *=!t')
!’ursuant to the Novcmbcr 3"’ Urd¢r, the balance remaining due and owing pursuant to

the U\:tgber "’ 7"` Agrecd Ordcr was Sl l.r`\?(.l.€sB exclusive of irttcrcst.

Neither the Judgment l`or Dissolutiott of Ma.rriagc or thc »'\ greed Ottler ol`(.`lctobcr 2?_,
2015 contain findings as to Husband's net income or a finding that the support, as

ordered, is based upon statutory guidelines lt` thc guideline was applicd. the 8500.00

.-\rt Agrc¢d Urder was entered on October I?. 2015 which is incorporated herein as ilv set
forth verbatim lo part. the -‘\ greed Order provided that Husband continue to pay the sum

ot`$SUO.lliJ per month in current child support and an additional $57?.(!¢} per month
towards rul accumulated arrears for child suppot‘t. school ttlition, child care. Sp€¢'.'h
therapy. Husband`s portion of medical expenses medical and dental insurance premiums

and Summcr earn . Perr'rion.er ',r Ex_ #!U.

 

 

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P`. P“Ltrsuant to the Agrced Order of October 27, 201$. a judgment is entered in favor ot`
___-______-

P¢titioncr Michlellc Murrn;r and against Rcsp-ondcr\t Carleton Syph Jr. in the amount of

51.344.‘36 representing attome_\"s fees pursuant to Pa.ragraph lf.’ therein

 

54. Those facts are what prompted Carleton B. Syph II to try and clarify his rulings as
depicted bclow. As he`s trying to understand among other things how the Judge can could
possibly be trying to tell him that his 3/2?)’201?' order was neither based off of nor

considered the 10/2?/2015 order, when within the 3/2?/201? order he extensively wrote

about the 10/27/2015 order.

3/30)’2018 Page 41

H?. SYF? arrearage ;s based on a decision
include a mar:°;. expe:sn as child suppur'.

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but by Judge Ruble*Murphy.

 

 

 

 

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55.

56.

The expense in question was paid for between 2011 & 2013 with marital property
accumulated during that time. As first explained in a Motion to Vacate filed 3!20!2017
(See Record C 551 - C 554 “Vacate”), then more clearly explained in a Motjon to
Reconsider filed 5!2.»'201? (See Record Page C 774 - C 775 “Reconsider”) and alluded to
in an email sent to the WOMAN’S DIVORCE & FAMILY LAW GROUP (See Record
Pages C 1009 - C 1018 “Email“), had Michelle Murray and Attorney Dworkin not
conspired to hide the marital assets Carleton B. Syph ll Mght in his 2013 discovery
requests leading up to the marriage dissolution hearing, in much of the same way as
outlined in Count I, [I & III of this pleading which they were ordered to furnish in the days
leading up to the 3;'22/201? hearing to Modify Child Support, there would not have been a
section 4.4 (c) portion of the 112212014 judgement or it would have been one more
equitably distributed

It’s fitting to conclude this pleading by affirming, while Carleton B. Syph II efforts in
case 12D00916'l' between 5!26!2016 through 6!?¢‘2018 have always been narrowly focused
on relying on verifiable evidence to pursue a Modiflcation of his child support order in
accordance with the (750 ILCS 5!505) and Cook Co. Cir. Ct. R. 13.3.1(b) and Cook Co.
Cir. Ct. R. 13.3.2(3); it is again proven, that the opposing side has been willing to
unabashedly violate many state and federal laws. professional conduct and circuit court
rules in efforts to intimidate and defeat Carleton B. Syph II pursuit of justice. ln fact.
all movements presented by Carleton B. Syph II in any pleadings which request a
reprimand of any sort, have been in response to Michelle Murray and her attorneys using
the proven perjury and fraud to pursue contempt and sanctions against him for proving it.

As peculiar as the previous statement may sound, it was Judge Edward A. Arce’s

 

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willingness to entertain and to Some degree encourage their efforts; which elevates the

severity of the improprieties to a level which requires this court’s intervention.

Name Under the penalties as provided by law pursuant to Section 511-109 of the Code of Civil
Procedure, the undersigned certifies that the statements set forth in this instrument are true and
correct, except as to matters therein stated to be on information and belief and as to such matters

the undersigned certifies as aforesaid that shefhe verin believes the same to be true.

 

Prim: carleton B. swan signature :'_"" " uate: 6105:2013

 

 

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Exhibit B

“Order Sealing and impounding on 2/1/2018 and haring pleadings on 3/30/2018"

 

 

 

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Ordcr £§ev. 02/ 241/gi CCG Nl.`ilIZ

IN 'I'HE ClRC`U}T COURT OF COOK COUNTY, ll.LINOIS

 

 

 

 

 

 

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DOR(]THY BROW'N, Cl.ERK OF Tl-[E CIRCUIT COURT OP COOK COUNTY, ILLINOIS

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Exhibit C

Support Payments and Accrua|s

 

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8/29/2014 $ (250.00) $ 3,000.00 421141
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7/1/2015 5 500.00 5 1,250.00 accrual
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2/1/2017 $ 500.00 $ 911.25 accrual
3/1/2017 $ 500.00 $ 1,411.25 accrual
4/1/2017 $ 500.00 $ 1,911.25 accrual
5!1/2016 $ 500.00 $ 2,411.25 accrual
5/1/2017 $ (735.00) $ 1,676.25 410443

 

 

 

 

 

 

 

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6/1/2017 5 500.00 $ 2,176.25 accrual
7/1/2017 5 500.00 5 2,676.25 accrual
3/1/2017 5 500.00 $ 3,176.25 accrual
8/9/2017 5 (1,000.00) 5 2,176.25 509011
9/1/2017 $ 500.00 $ 2,676.25 accrual
9/14/2017 $ (500.00) $ 2,176.25 434-266
9/25/2017 5 {2,000.00) 5 176.25 2018_3_1Spa\;ments FOR 2017.pdf
10/1/2017 $ 500.00 5 676.25 accrual
11/1/2017 $ 500.00 5 1,176.25 accrual
12/1/2017 5 500.00 5 1,676.25 accrual
12/7/2017 5 (75.25) $ 1,600.00 44928
12/14/2017 5 {2,000.00) 5 (400.00)2018_3_15pavments FOR 2017.pdf
1/1/2018 5 500.00 5 100.00 accrual
1/15/2018 5 (2,000.00) 5 (1,900.00)md turnoverevidence_1_16_2018.
2/1/2018 5 500.00 5 (1,400.00) accrual
2/5/2013 $ (500.00) $ (1,900.00) 427017
2/26/2018 s (500.00) $ (2,400.00)2018_3_15paymentsFoR 201s.pdf
afl/2013 $ 500.00 s (1,900.00) accrual
3/12/2018 5 (100.{}0) 5 (Z,OOD.DU) 415885
3/19/2018 5 (500.00} $ (2,50'0.00) 428296
3/23/2913 5 (100.00) 5 (2,500.00) verfied dth
4/1/2018 5 300.00 5 (2,300.00) accrual
4/1/2018 5 500.00 5 (1,800.00) accrual
4/20/2018 $ (300.00) s (2,100.00) 416743
511/2018 5 500.00 5 (1,600.00) accrual
5/1/2018 5 300.00 5 (1,300.00) accrual
5/18/2018 5 (300.00) $ (1,600.00) 432056
afl/203 s 500.00 $ (1,100.00) accrual
6/1/2018 5 300.00 5 (800.00) accrual
6/7/2018 5 (1,000.00) 5 (1,800.00) verfied dfhs
7/1/2018 5 500.00 5 (1,300.00) accrual
7/1/2018 5 300.00 5 (1,000.00) accrual
7/9/2018 5 (300.00) $ (1,300.00) verflcd dth
7/27/2018 5 (500.00) 5 (1,800.00} vcrflccl clth
8/1/2018 5 500.00 5 (1,300.00) accrual
8/1{2018 5 300.00 5 (1,000.00] accrual
3/1/2018 s (300.00) $ (1,300.00) 412034
3120/2018 5 (500.00) $ (1,300.00) 422792

 

 

 

 

 

 

 

 

 

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Exhibit D

Litigation efforts between 5/26/ 2016 and 5/5/2017

 

 

 

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Disclaimer:

The following is an excerpt from a pleading directly challenging state court judgments; which the
purported Rooker-Feldman doctrine at least encourages this court to abstain considering it's
reasonable to expect some overlap in arguments aimed at attacking state court judgments with
those levied in a 42 U.S. C. § 1983 compliant seeking federal redress for constitutional violations
in state court proceedingsl While l caution that this is not an official pleading as you ’ll find
reference to paragraphs and exhibits which are not included with it l’ve added the ( 735 ILCS
5/1-109) Certr_`fication to attest to the authenticity of the arguments and evidence within

§§Ltl

Conspiring to falsify and falsifying “Section 16 MY assets: a) Cash and Cash Equivalents” of the
financial At`f`ldavits

l. Cook Co. Cir. Ct. R. 13.3.1 and Cook Co. Cir. Ct. R. 13.3.2 are “Mandatory pretrial
procedures for post-judgment domestic relations proceedings Whi le it's clearly written on
the financial affidavit itself that making statements within which one knows to be false is
perjury as outlined in (735 ILCS 5!1-109) and falsifying other documents required to be
incompliance with the rules can also satisfy many elements of intrinsic fraud; because the
rules represent mandatory pretrial procedures put in place to allow the court to impartially

adjudge domestic relation cases, efforts to defile these rules are a fraud upon the court. '

 

1 "Fraud upon the cuurt" has been defined by the 7th Circuit Court of Appeals to "embrace that species of
fraud which does, or attempts to, defile the court itself, otis a fraud perpetrated by officers of the court so
that thejudicial machinery can not perform in the usual manner its impartial task of adjudging cases that are
presented for adjudication." Kenner v. C.I.R., 387 F.3d 689 (1968}; 7 Moore's Federal Practice, 2d ed,, p. 512, 11
60.23. The 7th Circuit further stated "a decision produced by fraud upon the court is not in essence a decision
at a||, and never becomes iina|."

 

 

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This is especially true when an attomeytot`ficer of the court, violates professional conduct
standards by helping or knowingly allowing their client to perpetuate the said scheme 3 3
4

2. The first and most obvious instance in which Michelle Murray made statements aimed at
circumvent Cook Co. Cir. Ct. R. 13.3.1 and Cook Co. Cir. Ct. R. 13.3.2, can be seen by
comparing Section 16 Mv assets: al C ash and Cash Equivalents presented within I-`inancial
Afiidavit#l dated ?i25/2016, with what Michelle Murray and Attorney “Dworkin”

refers to as the updated Financial Affldavit#Z dated 9!19!2016 as depicted below.

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FinL\_cial Affid_alit#Z_dated 9!19!2016 Record Page lC 6411

 

1"nttornevs and counselors are not officers of the United States; they are officers of the court, admitted
as such by its order upon evidence of their possessing sufficient legal learning and fair private character." Ex
parte Gartond, Q U_.§*, {4 ml 333 (1865

3 [ll A lawyer, as a member of the legal profession, is a representative of clients, an officer of the legal
system and a public citizen having special responsibility for the quality ofjustice. ART|CLE V|ll. lLL|NO|S RULES
OF PRC|FESS|ONAL CONDUCT

‘ Rule 8.4 lt is professional misconduct for a lawyer to: {a} violate or attempt to violate the Ru|es of
Professional Conduct, knowingly assist or induce another to do so, or do so through the acts of another. (h}
commit a criminal act that reflects adversely on the |awver‘s honesty, trustworthiness or fitness as a lawyer in
other respects. {c} engage in conduct involving dishonesty, fraud, deceit, or misrepresentation (d] engage in
conduct that is prejudicial to the administration ofjustil:e.

 

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The two depictions when considered together is evidence of Michelle Murray while being
represented by Attorney Dworkin. knowingly and intentionally failing to include the
account showing a balance of 514,583 on Financial Al`tidavit#Z dated 9/19!2016, on
Financial At`tidavit#l dated 7!25!2016. We”d later learn that Michelie Murray failed to
include at least 5 other accounts at the same institution and several others at other
institutions neither included on Financial At`i`idavit#l nor Financial Al`lidavit#Z. For this
reason, as it relates to Michelle Murray, the updated Section 16 Mv assets: al Cash and
Cash Eguivalents ol` Financial Ai`tidavit#2 dated 9¢'19/2016, is but clear evidence of
“Peljury" as outlined in (735 ILCS 5!1~109); which also satisfy many elements of intrinsic
fraud

Critical in understanding that both Michelle Murra! and Attorney “Dworkin” schemed
to tender Financial Aff`tdavit#Z dated 9£ l9f2016 is the fact that after tendering Financial
Aftidavit#l dated 7!25,/2016, counsel requested and was granted leave to withdraw as can

be seen below. (See Record C 369)

 

 

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5. The "record” is silent on the reason why after representing Michelle Murray between
9)'2012 thru 7f2016, that counsel would request to be withdrawn at the beginning of a child
support modification proceeding However; it's clearly reflected in that “recor " as shown
below that while being officially withdrawn, Attomey Dworlcin was providing and billing
Michelle Murray for legal services and advice. As can be see below on 9113!2016 Michelle
Murray and Attorney Dworkin discussed subpoena Carleton B. Syph II records for
things he neglected to put in his Financial lltt`fidavit.5 This conversation was held less than
a week prior to when Michelle Murra}r and Attorney Dworkin tendered the false
Financial Affidavit#Z dated 9119!2016 and the other financial information by way of an
interstate carrier; which failed to include things that should have been included in the said
financial affidavit

6. The invoice depicted below strongly suggest that Attorney Dworkjn planned to be added
back on as the counsel of record on or before the morning of 9!21!2016. Where in which

she'd help Michelle Murray argue that the same theft which prevented her client from

 

5 lt’ important to note, Ca rleton B. Syph ll was never served with a list of interrogatories or discovery
request. To date the opposing side has provided no evidence or arguments which suggest that he has or has
intended to mislead Michel|e Murray, any of her 5 attorneys nor the court about his financial position or the
change in circumstances; which warrants a modification of his child support.

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tendering 2015 Tax returns in July of 2016, was also to blame for why her client had not

filed 2013 nor 20]4.

from 4!12;’201? PETITION FOR ATTORNEY FEES

 

DATE DES-CR|PT[DN

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INlTIAL COUNSEL DF RECORD a CHILD‘ S REPRESENTA'|'IV'E

DITIDNAL DR TRIAL COUNSEL
SUBSTI'I'UTE COUNSEL

 

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?. Equally critical in understanding that Michelle Murray and Attorr_tev “Dworkin”

        

schemed to tender Financial Affidavit#Z dated 9/19!2016, is Attomey Dworkin`s request

to be withdrawn a second time on 6!5!201?.

 

 

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B. As explained the record was silent as to why after 4 years of representation, Attorney
Dworkin would withdraw from representing Michelle Murray after she tender Financial
Aftidavit#l dated 'r'l'26)'2016; a reasoning which to some extent becomes more obscured by
counsel ‘s decision to be added back onto the case. After being presented with the following
post trial pleadings; which clearly proves the Michelle Murray falsified the 16 My assets:

z_t)_Casb and Cash Equivalents section of both Financial Affrdavits:

5)‘2;‘201? Motion to Reconsider dated (See Record Pages C 629 - C 669)

5.+'12!2017 Petition for Direct Criminal Contempt of Court dated (See Record
Pages C 882 - C 888).

It was reasonable to believe, counsel’s decision to withdraw a second time on 6!5!201?,

was in order to align with professional conduct standards Rule 1.16 and Rule 4.1. 5 ? 3

9. Yet with indisputable evidence in hand proving Michelle Murray`s falsified this section in
both Financia] Affidavits, Attorney Dworkin goes out of her way, not to distant herself

from the fraudulent acts. but to defend them as can be seen in the depictions of a 'f/24f2017

 

5 RULE 4.1 |n the course of representing a client a lawyer shall not knowing|y: (a| make a false statement
of material fact or law to a third person; or (b) fail to disclose a material fact when disclosure is necessary to
avoid assisting a criminal or fraudulent act by a client, unless disclosure is prohibited by Ru|e 1.6.

7 RULE 1.16 lb} a lawyer may withdraw from representing a client if: {2] the client persists in a course of
action involving the lawyer‘s services that the lawyer reasonably believes is criminal or fraudulent; (3) the
client has used the lawyer's services to perpetrate a crime or fraud;

alll. R. Prof’| Conduct {20101 R.1.2 cmt. 11 leff. Jan 1, 2016} When the client’s course of action has already
begun and is continuing, the |awyer's responsibility is especially delicate The lawyer is required to avoid
assisting the client, for example, by drafting or delivering documents that the lawyer knows are fraudulent or
by suggesting how the wrongdoing might be concealedl A lawyer may not continue assisting a client in
conduct that the lawyer originally supposed was legally proper but then discovers is criminal or fraudulent.
The lawyer must, therefore, withdraw from the representation of the client in the matter. See Rule 1.16la}. ln
some cases, withdrawal alone might be insufficient lt may be necessary for the lawyer to give notice of the
fact of withdrawal and to disaftirm any opinion, document, affirmation or the like. See Rule 4.1. ln such
situationsl the lawyer should also consider whether disclosure of information relating to the representation is
appropriate See Rule 1.6{bl.

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pleading filed by Attorney Dworkin, before appearing in court on 1928/2017 to argue the

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The Respondent has chosen to ignore both her sworn testi-

  
   
  
 

mony as to the loss of her computer with her financial information

-: contained therein. and the fact that she had depleted some of her

  

- .' savings between the various affidavits

  

10. As read in the depiction above, Attomey Dworlcin attempts to explain there was a
“depletion” in savings shown between both affidavits However; the saving figures listed

on both Financial Aftidavits as depicted below are essentially the same.

Financial Affidavit#l dated 7/25)'2016 See Record C 666

    

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ll. ln fact, as explained in my initial RESPONSE TO PETITION FOR AWARD OF
ATTONREYS FEES AND COST filed 51‘9£201? (See Record C 840 - C 871), which
the depiction of Attomey Dworkin’s words is directed at, I argued then as l do now, there
was never an argument presented that suggested that I, or anybody, should have expected
specific account balances to remain unchanged between ?/25!2016 and 9! 191/2016 as
suggested in the depiction in paragraph 48. The argument has always been clearly
focused on the fact that Section 16 MY assets: al Cash and Cash Equivalents shown on the
Financial Affidavit#l dated ?125/2016 had “increased" by 594%_. going from $2,648 on
?!26)'2016 to $18,605 on 9/19/2016

See Record Pa - es C 844

(c) If the banking information alone, which shows a M growth in value `m less

than two months. was not reason enough for counsel to least consider the
possibility of perjury.

 

12. This pattern of behavior, both the willingness to assist her client in engaging in criminal
and fraudulent acts and going out of her way to defend the clear evidence of fraud and

perjury rather than distancng herself from both, is reflective of the type ol`litigation tactic

 

 

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which were also present during the dissolution of Marriage proceedings held between 2012

& 2014. To back this up, l first point to the paragraph depicted below:

REPhY TO RESPONDENT'S RESPONSE TO PETITION FOR AWARD
OF ATTORNEY'S FEES AND COSTS
(See Record C 1106 - Cl 10‘If pleading paragraph l)

     

 

 

   

That Sheryl B. Dworkin denies that herformer client, M|CHELLE

 
 

MURRAY. committed fraud. that M|CHELLE tendered all information that

   
 
 

was requested by the Respondent (who never properly requested infor-
mation) during the course of the dissolution proceedings

 
 

13. [ then bring to the courts attention RESPONDENT'S PRODUCTION REQUEST TO
PETITIONER and INTEGRRATORIES served and filed on 5/28/2013 (Record Page
C 122 - C 138 “Production Request & lnterrogatories`°), as evidence contrary to counsel's
assertion that Carleton B. Syph ll had never asked for the information before. ln fact, as
can be seen in the record. he had indeed requested the information during the dissolution
proceedings lt`sjust as explained on numerous occasions before and again in this pleading,
Michelle Murray and Attorney Dworkin, simply conspired to not disclose the
information Carleton B. Syph II asked of them in 2013; just like how they conspired to
submit a false Financial Af`fidavit#l and a false Financial Af`fidavit#Z aimed at not
disclosing the information Judge Edward A. Arce ordered them to provide on 6/7)'2016.

14. The depicted paragraphs from counsel's pleading; which attempts to convince a judge that
the clear evidence of an increase in asset value was actually a depletion in assets. that
Carleton B. Syph II never properly requested the information to reveal the fraud, along

with the other arguments and evidence which makes it hard to distinguish if indeed there

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15.

16.

is a distinction to be made. between counsels utter disregard for the professional standards
put in place to protect attorneys form being implicated in their clients schemes_. front her
actual participation in the scheme itself. is indicative of the litigation tactics deployed by
Attomey Dworkin in her representation of Michelle Murray between 9;’26,"20|2 and
7f28f2017.

As can be seen in the depiction above and the concluding words below all of which were
presented after being officially withdrawn on 6!5/201'?; Attorney Dworkin had no
intentions of trying to undo what had been done by the false statements made by Michelle
Murray in Section l6 Mv assets: al C ash and Cash Enuivalents ot`Financial Affidavit#l
and again in the same section of Financia| Affidavit#Z. lf anything, the evidence suggests
that Attomey Dworkin_. while being officially withdrawn a “second time” was willing to

go out of her way to offer up her own false statements to justify the fraud.

  

     

_(Record rig e_ C1_1:0_6 - _C_l 1_01

 

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DWORK|N has done nothing improper through

 

course of these proceedings

_._1. '_¢‘_-'_ E_.._‘~¢_ . _ __ ____-__.T- _ _. -, __ _..__`_|
Those reasons support that Micl_telle Murrav and Attornev Dwork`£ not only conspired
to conceal material assets from Section 16 MY assets.' al Cash and C ash Equivalents of
Financial Affidavit#l dated 7)‘26!2016 and Financial Al`fidavit#2 dated 9!19/2016 during
the child support modification proceeding, but they also conspired to tender a false
Financial Disclosure Statement dated l2fl4)'2012 (See Record Pages C 53 - C 61
“Financial Disclosure") to conceal marital assets during the Dissolution of Marriage
proceedings held on 9!12!2012 7!22!2014. This is the result of license professionals with

reckless abandonment, mowing over the professional conduct standers which serve as the

 

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controls to prevent such a case from reaching this height Then conspiring to try and cover
it up.

Count ll

Conspiring to falsify and falsifying Section lll Mv Gross Monthlv lncome: Child Suooort for
children not of this relationship of the Financial Affidavits

l?. The second instance in which Michelle Murray made statements she knew to be false and
Attomey Dworlcin knew or should have known to be false. to further the scheme to
circumvent Cook Co. Cir. Ct. R. 13.3.1 and Cook Co. Cir. Ct. R. 13.3.2, can be seen by
looking at Section ll My Gross Monthly lncome: Child Support for children not of this
relationship presented within Financial Af`fidavit#l dated 7;”25!2016 and then looking at
the same section on what Michellc Murray and Attorney Dworkin refers to as an updated

Financial Affidavit#Z dated 9/' 19/201 6 as depicted below.

Financial Aflidavit#l dated 7i25i2016 See Record Pa - e C 662

    

crain suopmior enlarge crim minimum (r-v; f. _\-3. »

Child support for children not uter

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18. The statement made on Financial Affidavit#l and again on Financial ritffidavit¥¢)Q1
corresponds with statements made by Michellc Murray on the witnessed stand during the

srzzxzoir hearing

 

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19.

 

When crossed examined about both Financial Affidavits; Michellc Murray explained that
she had not received any payments t`or child support l`or her other child in over 3 or 4 years.
However; there is a preponderance ol` evidence supporting that Michellc Murray does
indeed and had been receiving child support f`or children not of this relationship This

includes a series of checks she received from Child Support Services.

. ln t`act, it appears as ifMichel|e Murray had been receiving a weekly distribution of at least

$92.33 from Child Support Services for some time before tendering Financial Al`fidavit#l
dated ?fZS/ZUIG and Financial Aftidavit#Z dated 9/19:'2016; both ofvvhich show no Child

Support for children not ot` this retationship.

.One cheek dated for 9)“19!2016, was signed and deposited by Michellc Murray on

9!23£2016: just 3 days after tendering Financial At`f`idavit#Z dated 9£19!2016. Then another
check was signed and deposited by Michellc Murray on the same day she signed Financial

At`t`ldavit#Z dated 9/19!2016.

PETION FOR RULE TO SHOW CAUSE_NOT INCLUDING lN FNANCIAL
AFF [DAV[TS#I OR FINANCIAL AFFIDVIT#Z AN AMOUNT FOR “Child Support f`or
children not of this relationship”
(Record Page C 881 and C8'l'9)

  

 

 

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22.

23.

24.

25.

 

 

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The evidence of Michellc Murray signing and depositing checks from Child Support
Services in general, and especially the one deposited on the day she signed Financial
Af`fidavit#Z, eliminates any “reasonable doubt” as to whether Michellc Murray`s decision
to include nothing for Child Support for children not ot` this relationship qualities as the
form of perjury outlined (735 lLCS 5!'1-109).

Not only does the evidence suggest that it was “highty probable” that Michellc Murray
knew this statement was false; Attorney Dworkin also knew or should have known the
statement made on Financial Al`f`idavit#l and again on Financial Af`fidavit#Z were false.
To back tip this claim, l refer to the entire case tile l`or case 12D80849 in general. as
evidence of several years ot`litigation by Attorney Dworkin on behalf of Michellc Murray;
to get the Child Support order in questioned enteredl

However; l specifically point to a line item on one of the invoices filed as evidence
supporting arguments in a pleading l filed in case 120009167 as seen below.

RESPONDING TO PETITIONER’S MOTION TO MODIFY AN O`RDER OF
PROTECTION 5/12)'201'?

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26.

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l then point to the following arguments presented by Attomey Dworkin

REPI_Y TO RESPONDENT'S RESPONSE TO PETITION FOR AWARD
OF ATTORNEY'S FEES AND COSTS 7)'24!2017
(See Record Page C 1109 pleading paragraph l.e)

    

   

  

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the Respondent claims that DWORK|N is a

 
 

“debt collector" and therefore knew or should have known that

  
    
 

there were errors (according to him) in M|CHELLE's tendered

discovery He based that contention on a complaint died in 2013

    
   

against DWORKIN in the civil division of the Circuit Court (which

complaint was based solely on counsels error in filing the collection

 
 
   

ease in the wrong county).

  

(Record Page Cl 110 pleading paragraph l.f)

Respondent accuses counsel cf having a pro-

  

pensity to “scarri and defraud federal agencies and its citizens" by

 
   
  

noting that the word “scam" was used in an invoice on a “collater-

   

ally related case”. First, the case from which the Responderit

   

obtained that invoice is not collaterally related to this case_ lt is a

 
    
   

separate child support action for M|CHELLE's older child with a

 

different father.

 

lt has no relation to this case.

  

I ask the court to consider the proceeding 2 depictions presented and evidence and
argument in Count I paragraphs 93 & 94 along with the rest ot` the arguments and

depictions in this count to support that hat Michellc Murray and Attorney Dworkin

actions do not merely represent a culpable ignorance to the truth, but instead reflects a

 

 

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deliberate attempt by a litigant to committing perjury and attorney helping her client to
commit perjury.

2?. Surely a reasonable justice would consider that maybe this is reflective of an attorney not
performing the due diligence required of the profession: as even Carleton B. Syph II
considered the possibility before being sternly corrected by Attomey Dworkin who while
being officially withdrawn came back to explain on ?i24i201? as depicted below.

(Record Page C1109 pleading paragraph l')

DWORKIN denies the allegations in Paragraphs #Z{b-d] as to the

claims that counsel did not properly review her client‘s information

 

28, That means that Attorney Dworkin saw both of the written notations on Financial

At`lidavit#l and Financial Affidavit#Z as depicted below

Financial Affidavit#l dated 7!25/2016See Record Pa_e C 662

  
   

 

Child support for children cl this relationship t n»g ?.- oil l .-i ltv \ r.t`i' d 3 3d sys
Child aupoon for moran not ot wl wisdom-hip F"~‘ "l 8

 

Financial Aflidavit#Z dated 9/19!2016 See Record Pa - e C 637

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29. And although counsel spent the better part of 2 years in protracted litigation to get the child
support ordered entered, she accepted that Michellc Murray was not as much interested in

pursuing collection efforts for child support she wasn’t even receiving, as she was in a

 

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30.

pugilistic approach to defeating Carleton B. Syph II’s Petitions to Modify Child support
which are based on both, verifiable evidence and sound reasoning aligned with statue.

It’s important to note here that the statement depicted in in paragraph 66 was submitted
by Attomey Dworkin. after being provided with indisputable evidence proving that
Michellc Murray deposited a check for Child Support for her other child on the exact same
day she signed Financial Affidavit#Z attesting to the fact that she wasn’t receiving any
support for her other child. This is evidence of counsel going out of her way to defend
indisputable evidence of false statements, in order for a litigant she no longer represents to
be awarded attorney fees, further supports, that Michellc Murra! and Attorne! Dworkin
conspired to tender a false Financial Affidavit#l dated 7125!20]6 and a false Financial

Affidavit#Z dated 9/ 19!2016.

Count III

Conspiring to falsify and falsifying Section 16 My assets: e) Business lnterest of the Financial

31.

32.

Affidavits and filing and rendering false 2013, 2014 & 2015 Tax Retums

Count III is less obvious, but more insightful in proving that Michellc Murray, Attorney
Dworkin and an unnamed tax account not only conspired to submit 2 false Financial
Affidavits and then filed and tendered 3 false Tax Retums to authenticate the false financial
affidavits, but violated both (225 ILCS 425/2.04] Collection Agency Act and (15 U.S.
Code § 1692) Fair Debt Collection Practices Act when attempting to intimidate Carleton
B. Syph II in to discontinuing the di scovery; which would ultimately prove it.

To best understand this portion of the scheme, the court must take into consideration the

following seven pieces of evidence

 

 

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33. The first two pieces of evidence are sections from the Financial Af`tidavit’s themselves

When looking at Section 16 Mv assets: el Business Interest on Financial Affidavit#l dated

?/25/2016 depicted below, you`ll see prior to filing 2013, 2014 and 2015 Federal Tax

Retums, Michellc classified Eco-Living lnc as a S-Corporation with a fair market value of

| $60,000. Then when looking at Section 16 Mv assets: e) Business lnterest of Financial
Afiidavit#f! dated 9¢‘19/2016 also depicted below, you`ll see she includes nothing in that

section.

Financial Affidavit#l dated 7!25!2016 See Record Pa_

    

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34. The third piece of evidence as depicted below. are the concluding words from an email
sent by Michellc Murray explaining that she was working with a “Tax Accountant” to

prepare her 2013 Federal Tax Return for Eco-Living Ino.

 

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See Record C 446 “Michelle’s Email"

As stated in the July 26, 2016 court order. my teptop was stolen early 2015 thus l do not have
2015 tax retum prepared l filed an extension widi the IRS and 2015 is not due for filing mti|
October17, 2016. l did not h|e a 2014 nor 2015 Tax Retum. t am workmg with my tex accountant

now to begin filing for tax year 2013.

' Michellc Mu¢‘ray

 

35. The fourth piece of evidence is an excerpt from one Michellc Murray and Attorney
Dworkjn’s pleadings to support that an unnamed accountant was working on Michellc
Mun’ay’s 2013, 2014 and 2015 tax returns

PETITIONER’S RESPONSE TO RESPONDENT PETITION FOR RULE
Record Pa e C 481

Furthermore. that the Petit:`oner represented that her 2014 and 2015
returns were with an eooountant, but tendered her 2013 retums in oourt.

Later. when the Court determined that the parties need only exchange

2014 and 2015, the Respondent refused to return the 2013 returns to the

Petitioner.

 

36. The fifth piece of evidence is an excerpt from a Guardian Ad Litem Report filed for an
estate Michellc Murray is the administrator of . ln it Michael .l. Ori (Atty #6282032) wrote
in the report, which was filed in Lake Cook Co. and furnished to Judge Diane Winter, about
his interview of one Michael Murray (the brother of Michellc Murray). Michael J. Ori
wrote in that report that, Michael Murray believed that his Sister (Michelle Murray) should
handle the financial matter of the estate because she is “cducated in accounting". An
excerpt of the report is provided below. (See Exhibit Guardian Ad litem Report Excerpt

Depicted below.)

 

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37.

38.

39.

40.

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h.-icI believed lh.i= tin.m\.'i.il matters \_\l` hi\ rather should tv handled tn his ~»sn.'r

slow \hc is cducalgd in _.|ggpunlin§,_

 

That statement corroborates statements Michellc Murray made to Carleton B. Syph ll
before and during the marriage, wherein which she explained. that she not only has an
undergraduate degree in Accounting and a Master’S in Business Administration from the
University of Illinois at Champaign, but she is also a Certified Public Accountant.

The sixth piece of evidence is a collection of Corporate Annual Reports to be considered
as proof that Michellc Murray. paid the necessary filing fee for Eco-Living Inc to operate
as and be considered a corporation in good standing with the state of lllinois.

PET[TION TO SHOW RULE FOR CAUSE-FOR SUBMITTING “2015 TAX
RE'IURNS” SHOWING GROSS lNCOME SUBSTANIAI_.LY LESS THAN FIFTH
THIRD DEPOSITS

(Record Pages C 989 - C994)

The seventh piece of evidence is a Schedule C for Sole Proprietor used to report the
operations of Eco-Living lnc a Corporation registered with the state of lllinois, that was
filed along with Michellc Murray’s 2013, 2014 & 2015 Fedcral Tax Returns.

PETITION TO SI-IOW RULE FOR CAUSE-FOR SUBMITTING “2015 TAX
RETURNS" SHO`WING GROSS INCOME SUBSTAN]ALLY LESS TI-IAN FIFTH
THIRD DEPOSITS
(Record Pages C 973)

With those seven pieces ot` evidence in hand1 the court should be able to understand that
Michellc Murray who according to her possess an MBA and is a CPA_, correctly listed Eco-
living as a S-corporation on Financial At`fidavit#l dated 7/25;'2016.

Then upon realizing that she’d need to file and furnish to the court form 1 120 or l 1208 to

report the business financials of the corporation_; Michellc Murray and a hired Tax

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Accountant conspired to file and tendered the false 2013q 2014 and 2015 Tax Returns
around the 4th quarter of 2016, by reporting the results of` the corporation on a Schedule -
C for sole-proprietorships.

41. While l believe the decision to not file 2013, 2014 and 2015 Tax Retums until around the
4th quarter of 2016 is part of a separate scheme, the decision to use the wrong forms was
largely aimed at concealing the cash and cash equivalents they chose not to include in
Section 16 Mv assets: al C ash and Cash Eouivalents of the two False Financial Affidavits.
An allegation first alluded to in Count I when explaining that both financial affidavits
failed to include 5 accounts at Fifth Third and several accounts at other intuitions listed
nowhere on either financial affidavit

42. To back up this claim, l point not only to the 9!191'2016 email and the 2013 Tax Return
tendered in open court on 9/20/20]6_. but to the following statements made by Attorney
Dworkin in her response to my Petition for Rule penned sometime between 10/1’?f2016
and 11!211“2016.

PETITIONER S RESPONSE TO RESPONDENT PETITION FOR RULE

Furthermore, that the Petitioner represented that her 2014 and 2015
retums were with an accountantl but tendered her 2013 retums in court.

Later. when the Court determined that the parties need only exchange

2014 and 2015, the Respondent refused to return the 2013 returns to the

Petitioner.

 

43. The depiction above should serve as evidence supporting two things First, the unnamed

tax accountant was also working on Michellc Murray`s 2014 & 2015 tax retums: which is

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45.

 

Signil'tcant because Michellc Murray would eventually tender self-prepared 2014 & 2015
Tax returns as well. Second, the court should take heed to the fact, that after tendering the
self-prepared 2013 Tax Return, which Michellc Murray indicated in her entail that a tax
accountant was working on, Michellc Murray and Attorney Dworkin asked Judge

Edward A. Arce to order that Carleton B. Syph II return it back to them; which he denied.

. Its argued that one needs only to consider Michellc Murray and Attorney Dworkin‘s

knowledge of the consequences for tendering 2 false Financial Affidavits, to understand
their motive for relying on dubious “debt collector” techniques to discourage Carleton B.
Syph ll from conducting the discovery; which would prove it.

Acting on that motive; which is argued was multiplied by the fact that Michellc Murray
had already tendered a false 2013 Tax Retum and had not filed her 2014 & 2015 taxes by
the 10)'17!2016 [RS, as affirmed by counsel’s pleading

(See Record C 482)

  

That the Petitioner did, in fact, advise the Court that she had an extension
for 2014 and 2015 with an expiration date of October 17, 2016. That was
not a date by which she was to have the returns to the Respondent. only

the date by which the returns were supposed to be sent to the lRS. She

has not been able to forward those returns yet. and will be penalized by

the IRS for the late payments

on 10f25f2016 relying on the truthful disclosure within Carleton B. Syph II’s Financial
Aft`ldavit dated 8{23)'2016, Michellc Murray and Attorney Dworkin filed Citations to

Discover Assets; putting an immediate freeze on all of his bank accounts

 

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46.

4?.

Not only were the Citations false and n'iisleading; which is a direct violation of (15 U.S.
Code § 1692) Fair Debt Collection Practices Act, if this method of collection was
justifiable its argued the way in which the turnover of funds was handled also violated
{225 ILCS 42512.04) Collection Agency Act. The arguments and evidence to back up those
claims are best articulated in 735 ILCS 5!2-1001(a)(4) PETITION FOR SUBSTITUTION
OF JUDGE EDWARD A. ARCE see exhibit (##l##i‘2018)

Those violations are cited in this in this portion of the pleading, as evidence that Michellc
Mnrray and Attorney Dworkin acted on counsel’s propensity to scam and engage in
illegal “debt collector" techniques as exhibited in cases like Cook Co. Case 12D80849, the
two 15 U. S. C. §1692 (Fair Debt Collection Practices Act) complaints 1:13 CV 08565 &
92 C 4334 filed in the Northem District of illinois and the other 15+ cases where it appears
as if counsel had as she explained, “errored in filing collection cases in the wrong Cook
Co.” (See Exhibit C “Northern District Complaints”) when they decided to try and
intimidate Carleton B. Syph ll into discontinuing discovery, by putting a freeze on all of
his bank accounts The discovery which I add, would later prove as presented in this
pleading, that Michellc Murr'ay, Attorney Dworkin and an unnamed tax accountant
conspired to tender 2 false Financial Affidavits and 3 false Tax Retums as part of a scheme
which in part was aimed at circumventing Cook Co. Cir. Ct. R. 13.3.l(b) and Cook Co.
Cir. Ct. R. 13.3.2(a). This concludes the 3“’ reason for why l say, Michelle Murray,
Attorney Dworkin & an unnamed tax accountant, conspired to tender a false Financial
affidavit#l dated 7125:‘2016, a Financial Affidavit#Z dated 9!19)'2016 and then filed and
tendered three false Tax Returns, to commit common law fraud, fraudulent concealment

and a fraud upon the court.

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Natne Under the penalties as provided by law pursuant to Section 5/1-109 of the Code of Civil
Procedure, the undersigned certifies that the statements set forth in this instrument are true and
correct, except as to matters therein stated to be on information and belief and as to such matters

the undersigned certifies as aforesaid that shefhe verin believes the same to be true.

Print: Carleton B.Syph II Signature: "/ Date: 6!05)'2018

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Exhibit W

"It was kind of a stepchild of the system," longtime domestic relations Judge Thomas Carr

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After legal challenges, Cook County's court for
unwed parents quietly goes away

 

Wo G|azers. 32, says he disliked Cook County's parentage court facilities and the way it made him feel - “like a tile number," (Alyssa
Pointer i' Chicago Tribune}

By Steve Schmadeke
Chicago Tribune

SEPTEMBER 13.201?.5215 AM

hen Vito Glazers and the mother of his child couldn‘t work out a visitation schedule for their then-
infant son, he did what many parents do and went to court and asked a judge to intervene

But when he arrived at the Daley Center court complex in downtown Chicago for the first time last year, Glazers
learned that because he and the boy's mother were never married, his case would be heard in the basement,
where former storage space had been converted into cramped courtrooms. Divorcing couples or those already
divorced facing similar child-custody issues were assigned to better-appointed courtrooms upstairs

"I‘ve never been to prison, but that's a little like what it felt like," said Glazers, 32, of Mount Prospect. "It was
` ` ` isychologically break people.“

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St22f2015 Case: 1:18-cv-0£l¢82t1_ Dowmentntti:a®tl¥i|edu@t§!@éiib&d?age 93iaeita1iih0-l'e‘la@edmusilé76
For years, the last large relic of Illnn,is' two-tiered system for child support and paternity cases - one court for

married couples and a separate one for unmarried parents - lived on in Cook County.

A holdover from the days when state law referred to the children of unwed parents as "bastards," Cook County's
Parentage and Child Support Court for years was held in police station courtrooms and other buildings separate
from divorce court in downtown Chicago. The court, originally intended as a way to quickly get unwed mothers
child support, was moved to the basement of the Loop's Daley Center court complex as part of an informal
settlement in a 1993 federal discrimination lawsuit alleging single parents were treated differently than
divorcing parents in child custody and support cases.

Even after the move, divorce cases were heard in larger, better-appointed courtrooms upstairs.

But in February, parentage court, as it has long been informally known, was abolished in response to a new
round of possible legal action over its constitutionality and an acknowledgment of larger social changes that
mean not quite half of the county's child support and custody cases are now brought by unmarried parents
That's up from about 5 percent several decades ago.

"It was kind cfa stepchild of the system," longtime domestic relations Judge Thomas Carr said of parentage
court. The Domestic Relations Division of Cook County circuit court handles the county's divorce and child
custody cases.

66

I've never been to prison, but that's a little like What
it felt like.

- Vito Glazers on Cook County's parentage court facilities
Court in converted closets

Experts said Cook County was the only large court jurisdiction in the country, and possibly the only one period,
that sent divorcing parents with custody issues through one set of courtrooms and single parents through
another. lt was a product of lllinois law that for more than a centtu'y treated unmarried parents differently

"There really was a disparate impact (on unmarried parents)," said Christine Hunt, a family law attorney and
adjunct professor at John Marshal] Law School, where she's a supervising attorney at the family and domestic
violence legal clinic. "In some cases these courtrooms were converted closets."

Judge Grace Dickler, who heads the domestic relations division and led the effort to do away with parentage
court said, "We wanted to make sure there was no perception of a stigma to children of unmarried parents."

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Yet before parentage court was closca, only 7 of the 37 domestic relations judges at the Daley Center heard
those unwed-parent cases, Dickler said.

Glazers‘ attorney Jeffrey Leving said the change was welcome and benefits more than just the parents.

"I believe that Chicago is extremely conservative and the court system historically views unwed parents as
lesser," he said. "When you have unwed parents being treated like cattle in the basement of the courthouse
where the future of their children is being balanced, that hurts their children."

Fewer couples are tying the knot in the first place, which meant a heavier caseload for parentage court, judges
and family law attorneys say.

"People are co-habitating in large numbers," said longtime family law attorney Gemma Allen, who said the
family~court consolidation has created a feeling "of greater acceptance or respect" for unmarried parents. "It
never surprises me what Ihear (about patenting arrangements) when I pick up the phone anymore. These are
very responsible, very intentional, very concerned co-parents that want what‘s best for their children.

"I think the court system has changed with the times."
Unconstitutional, and the Bastardy Act

The Chicago Appleseed Fund for Justice, a nonprofit public-interest group that works on judicial reforms,
pushed hard for the change, presenting Dickler a detailed legal analysis in 2014 that found the system
constitutionally flawed.

Already, a federal judge in 1993 had found that the county's bifurcated family courts system operated as an
unconstitutional "classification system" that treated married - or divorcing - and unmarried parents
differently

Not everyone agrees that there were disparities between divorce and parentage court.

Laura Vallejo, the supervising attorney for Chicago legal Clinic‘s parentage and child support desk, said from
her windowless office in the Daley Center basement that from her perspective clients were treated the same in
both types of courtrooms. The nonprofit clinic provides legal advice and representation to people who can't
afford to hire a lawyer.

While the physical setting and busy calls may not have been ideal, she said it was attorneys who were most
unhappy because cases assigned to parentage court could take up much of their day.

Like Cook County, child custody and support cases filed by unmarried patents are growing in the collar
"'“'“**"‘” '“ " """"" " ‘ """ ~“'“*""‘ *‘"‘~‘ ~'"“" '~“~ “'~'"‘~i with the regular domestic relations call.

3._1.",\_":21r!1]\.1=111‘.,' __i-;i,-'r\;l!"~_:r'-! _

*`- ~“' ""-‘ ` """-'-l "' _'troom for unmarried parents working out child
there has a judge specializing in these types of

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cases, said DuPage County Domestic Relations Presiding Judge John Dernn..g. Those wishing to avoid court
altogether can opt for the newly established mediation program designed for unmarried parents.

In Cook County, judges and others said there have been hiccups in the new system, in which all judges hear a
mix of cases, including some in the Daley Center basement Some judges have been receiving a much higher
proportion of redistributed cases than others, judges and attorneys say.

Helping move cases along are hearing officers that this year - under new funding from the Cook County Board
after the state decided to stop paying for the program - expanded their roles to help parents resolve cases more
quickly, taking much of the work on about 5,ooo cases from judges, according to the Appleseed Fund.

The county's two»tiered court system grew out of the Bastardy Act of 1845 and its subsequent revisions that -
shockineg to the modern ear - labeled the children of unwed mothers "bastards" and in early versions of the
law essentially forced moms to relinquish custody of their offspring if the father paid child support.

 

Before parentage cases were heard in the Daley Center‘S basement, they were heard in a crowded set of
courtrooms across the street. Some were also heard in a South Loop court building when the neighborhood was
considered rough, said Allen, the family law attomey, and sometimes a deputy or even judge would walk her to
her car when a case ended after dark.

And before that, cases were heard in district police station courtrooms. I..ongtime family law attorney Paul
Feinstein recalled early in his career doing parentage cases in a wood-paneled courtroom at the old, now*
demolished Chicago police headquarters at 11t_h and State streets.

"It‘s a lot better (now)," he said.

Glazers spent nearly a year in court before reaching a settlement in January, a month before the court
consolidation He said it allows him to have his son one day a week and every other weekend It's not ideal,
Glazers said, but at least he can see his son more.

He won't soon forget his time in the Daley Center basement

"They pay no attention to you down there - you feel like a file number," Glazers said. "You feel completely
unheard and completely helpless."

sschrnodeke@chicogotr'ibune.com

Twitter @SteveSchmddeke

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Exhibit X

In Gomez v. Comerford, No. 93-C-3268 (N.D. Ill ), in the mid-logos, Cook County was sued
on behalf of the families in the Parentage Court

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(https:!rwww.chicagoapp|eseed.org)

|mproving Lives by lmproving Courts

Reforrning the Cook County Parentage Court

Chicago App|eseed Func| for_|ustice had the privilege of providing research and analysis to a
task force examining conditions for litigants and attorneys in the Parentage section of

Domestic Relations Division

-ook County takes an unusual

approach to child support and parenting issue
litigation by assigning cases based upon Whether
the chi|d's parents have ever been married to each
other. Cases concerning non~rnarita| children are
heard in the Parentage Court; cases With marital
children are heard in Domestic Re|ations Court,
called "Divorce Court”. Our research did not
uncover anotherjurisdiction which divides its child support and custody cases into separate

 

https :llwww.chicagoapple seed.orglreforming-the-cook-oounty-pare niage-courtlr 117

 

 

8»‘28»'2018 Case: 1:18-cv-O4821 Document WQ@ir§iledp®Ql@dWMrPegr-e 98 of 110 Page|D #:581
divisions based upon whethe. or not the child was born to married parents, although New
jersey courts have a judicial unit for "non-dissolutlon paternity and/or support” between
persons who are not married or married parties who have separated but not filed for divorce.

ln Gomez v. Comerford, No. 93-C-3268 (N.D. ll| ), in the mid-19905, Cook County was sued on
behalf ofthe families in the Parentage Court, alleging that the disparities between the
Parentage Court and Divorce Court amounted to a violation of the families' rights under the
Equal Protection Clause. The court concluded
(http:ffwww.|eagle,comfdecision/l9931535833F5upp702_‘|1447)that-given the history of
discrimination against nonmarita| children in |||inois_there was a triable issue of fact over
whether the separate systems were originally put into place because ofa discriminatory
purpose. However, the suit was voluntarily dismissed when the County made some
immediate changes to the Parentage Court. Among other thingsl the Parentage Court was
moved, first from the various police stations around Chicago to a consolidated location on
West Rando|ph and. recent|y, into the concourse level of the Daley Center.

The Domestic Re|ations Divlsion's "Divorce Courtrooms” occupy conventional courtrooms
dispersed over several upper floors in the Daley Center. The Parentage Court occupies a
series of small courtrooms and hearing rooms in the concourse level and recently expanded
to include two additional conventional courtrooms on that level.

The Domestic Relations `l'as|< Force, recognizing that these changes were important but that
complaints about the Parentage Court persisted asked Chicago App|eseed to evaluate
possible outcomes ofa renewed equal protection challenge to the divided Domestic Re|ations
Courts. Our research team conducted dozens ofinterviews with attorneys and court staff with
experience in both the Cook County Parentage and Domestic Re|ations courts and conducted
additional interviews with practitioners in otherjurisdictions. academics and family services
professionals An additional three dozen practitioners responded to an electronic survey
about conditions in the Domestic Re|ations Division generally. We also conducted four days of
court-watching and additional research into court management and litigant services in other
jurisdictions

Our report argues that the Cook County Parentage Court is on the brink in terms of its
Constitutiona| legitimacy Those working within the Parentage Court system praise
improvements that have been made within the past year but a substantial number are still
critical ofthe facilities and the perceived inequities in caseloads and resources Yet, our
respondents in Cook County and in jurisdictions outside |l|inois offer recommendations to the
Circuit Court that, if implemented would move the Court away from this brin|<_toward the
point where the government interest argument could prevail in a constitutional challenge
The current Court administration has demonstrated its desire to improve the Parentage
Court. We urge the Court to consider and implement additional improvements

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Foremost in our recommendations for improvements is the adoption of a service-based
model in the Domestic Re|ations courts to better serve the needs of families in the system
and to improve efficiency in a division that sees a large percentage of pro se litigants
Regard|ess of the separation of types of families in the Domestic Re|ations Division, there is
an ever-growing need for assistance and coordinated services in our family courts

Policy innovations in family courts commonly reflect the desire of court administrators to
preserve the rights of parents while maintainingjudicial efficiency Most family court
innovation, as well, is responding to an increase in pro se litigants increasingly complicated
family structures and the recognition that litigants often have social services needs that are
driving their legal conflicts-problems facing the Parentage Court in Cook County.

The community courts model at work in a variety of courts in variousjurisdictions is designed
to assist courts and litigants in keeping cases organized and moving smoothly but is more
holistic and expansive than simple management of existing child support cases lt focuses on
coordinating services for families including collecting information about other court cases
(domestic violence orjuveni|e cases for instance) that the parties are involved with. The
community courts model assists dispute resolution through deployment of community
resources and services like job services family counseling child care alternatives legal aid
and other social services in order to free court resources to focus on unique|yjudiciai issues
Services are provided both to the court. in the form of case managementf and to the litigantsl
in the form of social services

Alternately, a case facilitation model, at work notably in California, is a comprehensive model
designed to assist the court primarily by assisting litigants Case facilitators are attorneys
employed by the courts and their offices provide both basic case management services and
comprehensive legal assistance services with settlement assistance Case management
services in a facilitation model include direct assistance to the court through in-court help
calendaring, explaining procedural rules to litigants and calculating support payment as well
as making minor adjustments to custody and visitation schedules and drafting orders
Services to litigants include education about rights and responsibilities as well as legal aid
workshops and self-help services |n addition to assisting pro se litigant with drafting
documents facilitator attorneys may facilitate settlements and agreed orders

We commend the Cook County Domestic Re|ations Division, and Presidingjudge Grace
Dickler, on her attention to the improvement of the court and hope significant change can be
made.

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Exhibit V

"Gomez v. Comerford, No. 93-C-3268 (N.D. l|l )”

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V.
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Llniled Sraies District Court, N.D. Il|inciis_ E.D Sep 22, 1903 Fuil i-`iie

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Hcilding discriminatory intent not required in challenge to overt discrimination

Summary cl this Ca‘ie from E'-LLD|£M_L_UDL[XE.E§IMF_N£WJMME§HLBE

MEMORANDUM OPINION AND ORDER

CONLC|N, District Judge_

Jacqueline Ann Gomez, by her next friend, Virginia Hernandez; Melissa
Erin Simmons, by her next friend, Dori Sauceda; and Chrystina Smith
and Zachary Smir.h, by their next friendq Sharon Smit.h, individually and
behalf of all others similarly situated (collectively 'plaintiffs'), sue
Harry G. Comerford, Chief Judge of the Circuit Court of Cook County,
Illinois, in his official capacity under 42 U.§.Q. § 19_83. Plaintiifs allege
that Judge Comerford has violated their rights under the equal
protection clause of the Fourteenth Arnendrnent of the Un.itcd Smtes
Constii:ui:ion by adopting and enforcing two separate and unequal
systems for adjudicating child support, custody and visitation disputes
in the Circuit Court of Cook County. Plaintiffs seek declaratory and
injunctive relief. Judge Comerford moves to dismiss plaintiffs
amended complaint under Fed.R.Civ.P. iz(b) {6), while plaintiffs move
for class certification under Fed,R.Civ.P. 23.

BACKGROUND

Judge Comerford is responsible for the organization of the Cook

County Circuit Court into two departments the county department
and the municipal department Amended Complaint 1 12. One of the
divisions of the county department, the domestic relations division,

SEE 2 RELATED CASES )

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How cited
Cases that have cited this case

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...Hi$ federal constitutional claim
fails as well because his complaint
does riot allege intentional or
purposeful discrimination, "an
essential eiernent or an equal
protection claim." Dickens v. State
of Mo.. by Ashcroit. BS’? F_2d 895.
8°6 {Bth Cir. li?Bfii. where The
statute or policy is facially neutral.
But see Gorne: by Herriande_= v.
Comerftirti, 833 F. Si.i;iiti. ?02_ ?Oci
(N.D. ili. 19°31 lholdir-ig
discriminatory intent riot required in
challenge to overt discriininarion}.
He does not allege that the
university engaged iri discriminatory
conduct "iri part ` because off riot
merely ` in spite oi,' its adverse
effects upon an identifiable
group."._.

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No. 00 C ?2‘23 [N.D. [ll. Apr. 2_
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...l`he exact number of class
members need riot ne pleaded or
proved See Gorriez v. Comer,(ord_
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19‘?Zl. However, the impracticability

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( children of marrie :nts"). Id. at 11 13 14. ln contrast, cases i A" 2 wing CSSE‘-i >
concerning paternity, support, custody and visitation of children whose

parents have never been married to each other (”children of unmarried

parents”) cannot be brought in the domestic relations division.

Instead, under the Pa.rentage Act of 1984, as amended, Ill.Rev.Stat. ch.

40, 1 2501 et seq., cases involving children of unmarried parents must

be heard in the municipal department rather than the county

department Id. at 1 15. Plajntift`s allege that Judge Comerford enforces

this dual system under the General Orders of the Cook County Circuit

Court and the circuit court rules. Id. at 1.

Plajntiifs allege that Judge Comerford maintains an overtly
discriminatory system that treats children of unmarried parents in a
different and unequal manner. The domestic relations division cases
and any enforcement or modification actions aifecting children of
married parents are heard in the Daley Center. Id. at 11 14. 17. ln
contrast, cases brought in Cook County under the Parentage Act are
heard in Parentage Court courtrooms located in or adjacent to Chicago
police stations; postjudgment motions for enforcement or
modification are heard either in the original Parentage Court
courtroom or at 32 West Randolph in Chicago. Id. at 11 16, 18. Plaintiifs
explain that the children of married parents enjoy numerous
advantages over the children of unmarried parents because of the
difference in facilities See id. at 1 19. Plaintiifs allege that this overt
discrimination fosters and reinforces the stigma of illegitimacy and
violates the equal protection clause of the Fourteenth Amendment.

DISCUSSION

1. The Motion To Dismiss

A motion to dismiss rests the sufficiency of the complaint, not the
merits of the suit. 'I‘ri`i:id Assocs., Inc. v. Chicago HoiisingAuthori'ty, §9_2)z
L.Ed.ad 92 (1990). When considering a motion to dismiss, this court
must accept all well-pleaded facts as true, draw all inferences in favor
of the plaintiffs, and view plaintiffs allegations in the light most
favorable to them. Bontkowski’ v. Fi'rsr Nizi"l Bi:nik of Gicero, 998 F.ad 459,
§§ (7th Cir. 1993). This court will grant a motion to dismiss only if it
appears beyond doubt that plaintiffs can prove no set of facts entitling
them to relief. Veriture Assocs. Coip. v. Zenith Data Systems Cmp., 9_87_
_l_?£d_¢igg,_rig,g (7th Cir. 1993); see also Hi'slion v. King Spalding, g,§;i_U__._§
§9,_13, 104 S.Ct._z£g_. 2.2.1.2-33, 81 L.Ed.zd to (1984); Conley v. Gi'bson, 355
U.S. 4_1,_45-_4§, 78 §.Ct. 99, 101-02, z J_..Ed.zd 80 (1957). The amended
complaint may be dismissed only if plaintiffs plead themselves out of
court by alleging facts that show they are not entitled to judgment
Eorly v. '705 Barikers Lz)"e Cosiiaity Co., 959 F.zd 75,_7{5; (7th Cir. 1992).

 

 

 

The motion to dismiss is based on equal protection jurisprudence
Judge Comerford's motion is grounded on the fact that plaintiffs do
not allege that he acted with the intent to discriminate against children
of unmarried parents. Judge Comerford’s argument has two steps:

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First, he asserts that it is a necessary element of plaintiEs eq

protection claim. Second, he contends that the exception to the intent
requirement is inapplicable here because the alleged overtly
discriminatory classification does not involve a suspect class.

Judge Comerford’s argument that discriminatory intent is a necessary
element of plaintiffs claim is based on his view that the rules
classifying children according to the marital status of their parents are
facially neutral. He relies chiefly on the equal protection doctrine of
Washr'ngton v. Davis, 526 U.S. 2.2.9_, 96 S.Ct. 2049, 48 L.Ed.ad 592 (1976),
and its progeny. Daw's upheld the validity of a written test that was part
of the application to the District of Columbia police department even
though white applicants passed the test more often than black
applicants. Arlz`ngron Heights v. Metropolitan Hoasing Development Corp.,
MQMY, syM sss, sO_L-Ed-zd 459 (1977), upheld a municipal
zoning decision to deny a petition to rezone an area from single-family
to mold-family use even though single-family zoning tended to
perpetuate racially segregated housing patterns. These were facially
neutral state policies that were challenged as racially discriminatory
and upheld as valid absent proof of discriminatory intent Similarly,
Personnel Admim`.s'trator of Massachusetts v. Feeney, 442 U.S. 25§, QQM
gLSz, 60 L.Ed.z.d 872 (1979), involved a facially neutral statute: a
veterans' preference in civil service positions. In Fenney, the Supreme
Court extended Davis to cover gender discrimination cases, holding
that the statute was constitutional even though it worked to exclude
many women from government jobs. Since illegitimacy, like gender, is
analyzed using an intermediate level of scrutiny, see, e.g., Clark v. Jeter,
486 U.S.41;6,_4§_, 108 S.Ct. 19§,_19;.=1q loo L.Ed.ad 465 (1988) (citations
omitted), Judge Comerford argues that the framework set out in
Feeney, with an intent requirement, applies to this case. According to
this analysis, plaintitl`s' failure to allege discriminatory intent is fatal to
plaintiffs claims.

 

The Feeney analysis does not apply because this case does not involve a
facially neutral statute or policy. General Order 1.2 of the Cook County
Circuit Court provides:

[T]he Domestic Relations Division hears actions or
proceedings concerning dissolution of marriage, legal
-separation, declaration of invalidity of marriage, custody,
actions brought to modify or enforce provisions of order or
decrees requiring the payment of maintenance or support,
actions commenced under the Uniforrn Reciprocal
Enforcernent of Support Act and actions to enforce orders
requiring payments from persons legally responsible for the
support of persons who are recipients under the illinois Public
Aid Code.

Rule 13.1 of the Circuit Court of Cook County provides, in pertinent
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Domestic Re atia ases are proceedings for an order of
judgment relating to dissolution of marriage, legal separation,
declaration of invalidity of marriage, custody, visitation and all
other matters which maybe brought under General Order 1.2-
1(111) of the Circuit Court of Cook County, Illinois.

General Order a.a(b) (i) provides:

The Municipal Department hears civil actions and proceedings
at law for money not in excess of $5,000, actions of replevin for
property of value not in excess of $15,ooo, actions of forcible
entry and detainer unless joined with a claim for money in
excess of $15,000 and proceedings ancillary and supplemental
thereto, including attachment1 garnishment, distress and
citation. The Municipal Department also hears actions arising
under the Parentage Act of 1984, as amended.

The argument that these provisions are facially neutral is semantic.
These court rules do not baldly state that all cases involving children of
married parents are heard in one place and all cases involving children

706 of unmarried '706 parents are heard in another. Howeverl read in
conjunction with each other, these rules establish different systems for
children of married and unmarried parents. General Order z.a(b) (i)
makes clear that the municipal department hears cases arising under
the Paterru'ty Act. This is not a situation of disparate impact where a
rule affects one group more harshly than another; all children of
unmarried parents are dealt with diii`erently. The General Orders act as
a fork in the road, sending children of married parents in one direction
and children of unmarried parents in another. This is a classification
system. lt is clear and overt.

The amended complaint is sufficient even though discriminatory intent
is not alleged because discriminatory intent is not required in a
challenge to overt discrimination As the Supreme Court stated in
Wer v- Um`f€d Srares, 479_11-_$159§,§0_8 11- 10, iosS-Lt-lsa¢t.issi n- 10.
84 L.Ed.ad 547 (1985), ”[a] showing of discriminatory intent is not
necessary when the equal protection claim is based on an overtly
discriminatory classification." Since plaintiffs are challenging a system
in which the marital status of a child's parents determines how his or
her case will he handled, proof of discriminatory intent is unnecessary

Second, Judge Comerford argues that the exception to pleading intent
only applies to suspect classifications Because illegitimacy is not a
suspect classification, intent is required He notes that the two cases
cited by plaintiffs, Wayte and Asz‘an American Business Group v. Ci'ty of
Pemana, 716 F. Supp._i;),a_S, _1335 (C.D.Cal. 1989), both involve suspect
classifications He concludes that cases not involving suspect
classifications must allege discriminatory intent. He provides no
support for this proposition In fact, the Supreme Court has not
required a showing of discriminatory intent in equal protection cases
involving illegitimate children. See, e.g., Clark v. Jeter, 486 U.S. 45§, g
LQ_;._igio, loo L.F.d.zd 465 (1988); Miils v. Habluetzel, MM 9_1, ;o_g

 

 

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__S-Cr- 1459, 52__L-Ed-zd 31 (1977): vaez v. sz, 499£§535.. 931&
§7_§, 35 L.Ed.z.d §§ (1973); Weber v. Aetruz Cesuelty Surety Co., 406 U.S.
_1_6_4,, 92 S.Ct. 1499, 31 L.Ed.sd 7_§§ (1972). These cases involved clear
classifications of children as legitimate and illegitimate The Supreme
Court inquired only as to whether the classification was substantially
related to an important government interest The logical conclusion is
that discriminatory intent is not required when a statute overtly
discriminates between legitimate and illegitimate children.

 

 

 

Because the amended complaint states a cause of action upon which
relief could be granted, the motion to dismiss under Fed.R.Civ.P. iz{b)
(6) is denied

2.. Plaintifi`s’ Motion For Class Certitlcation

A suit may be maintained as a class action only if (1) the class is so
numerous that joinder of all members is impracticable; (2.) there are
questions of law or fact common to the class; (3) the claims or defenses
of the representative parties are typical of the claims or defenses of the
class; (4) the representative parties will fairly and adequately protect
the interests of the class; (5) the party opposing the class has acted or
refused to act on grounds generally applicable to the class, thereby
making appropriate final injunctive relief or corresponding declaratory
relief with respect to the class as a whole. Fed.R.Civ.P. ag(a) and (b) (2.).

Plaintifi"s are entitled to certification because they have made the
required showing on each of these elements First, plaintiffs have
shown that joinder is impracticable The class would cover children
whose support, custody and visitation issues are being or will be
litigated under the Parentage Act and those whose support, custody
and visitation issues were decided before June z, 1993, but may move
back into the class should their parents seek modification or
enforcement The class consists of tens of thousands of children,
although the exact number is impossible to pinpoint. The exact
number or identity of class members need not be pleaded Pahj»kus v.
Gomz'ila, 121 F.R.D. 357, 360 (N.D.Ill. 1988), citing 1 H. Newberg,
Newl)e)g on Class nations § 3.05 (zd ed. 1985). A finding of numerosity is
707 valid so long as it is supported by common *707 sense assumptions
Grossmen v. Waste Managemenr, Inc., 100 F.R.D. 781, 785 (N.D.Ill. 1984).

Second, plaintiffs have shown that there is a question of law common
to all class members: whether Judge Comerford violated the equal
protection clause of the Fourteenth Amendrnent by creating and
enforcing two diEerent systems for adjudicating claims related to the
support, custody and visitation of children. Judge Comerford argues
that not all members of the class have difficulty obtaining attorneys
and that not all members of the class would prefer to have their cases
heard in the Daley Center. Plaintilfs do not assert that every class
member shares every concern listed in paragraph 19 of their amended
complaint Some factual variation among the class grievances does not
defeat the class. Rosen'o v. Lr‘vad:`n's, 9§3 F.ad 1013,_19_;;1 (7th Cir. 1992)

 

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of facts do not defeat the class. fn any event, the undeniably common

question of law predominates.

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'I`hird, plaintiffs have shown that their claims are representative of the
class' claims because their claims arise from the same event or course
of conduct giving rise to the claims of the other class members and are
based on the same legal theory. See, e.g., Rosario, 9§3 F.ad at 1018
(citations omitted}; fn re VMS Seeari'h`es Lit!§gation, i36 F.R.D. 4®,_4;35
(N.D.Il]. 1991).

Fourth, plaintiffs have shown theywill fairly and adequately represent
the class. A named plaintiff fairly and adequately represents the class
when her attorney is qualified and when the plaintiff has no interest
antagonistic to those of the class. See, e. g., Secrerary of Lal)or v.
Ft'tm'mmons, _8___05 F. 2d 682 ,_§91 (7th Cir. 1986);11»1 re VMS Securities
Litigatz’on, _136 F.R.D. at 47§§29. Plaintid`s are represented by attorneys
from the Legal Assistance Foundation of Chicago ("LAF”). LAF
attorneys have handled hundreds of famin law cases and have
extensive experience with class actions. Plainti&`s' Mot. at 12. Plaintiffs
have no antagonistic interests because their interests are absolutely
identical to the interests of the other class members and they seek the
same relief: "access to a scheme of justice in which all custody,
visitation, and support cases are assigned to courtrooms and provided
services without regard to the minor cbild’s birth status." Id.

 

Judge Comerford counters that plaintiffs are not adequate class
representatives because plaintiffs have failed to establish that the class
representatives have adequate knowledge of the suit to represent the
other members of the class. This court seriously doubts whether
plaintit]"s, who are all under the age of ten, have a full and sophisticated
understanding of the facts and law involved in their case. However,
Judge Comerford does not question whether plaintiffs counsel will
adequately protect the interests of the class. This court is satisfied that
counsel will do so. Courts recognize that plainst need not always
have a detailed understanding of their complaint and may rely on their
lawyers knowledge and expertise in litigating their ciairns. in re VMS
Securiti`es Li'h`gatimi, i36 F.R.D. at 47§ (citations omitted).

Finally, plaintiffs have shown that Judge Comerford has acted on
grounds generally applicable to the class as a whole because Judge
Comcrford is responsible for enforcing the separate adjudication
systems for children of married parents and children of unmarried
parents.

Plaintifi`s’ motion for class certification is granted. The court certifies
the following class under F'ed.R.Civ.P. 23(c) (1): All children under 18
years of age:

(1) whose parents have never been married to each other, and

 

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custody, and visits with them by their non-custodial parents are
being litigated in the Parentage Court courtrooms of the First
District of the municipal department of the Cook County
Circuit Court or in the Support Enforcement courtrooms of

708 the domestic relations division of the county department eyes
of the Cook County Circuit Court on or after lime a, 1993.

CONCL USION

The motion to dismiss is denied. Judge Comerford is directed to
answer the amended complaint by October 6, 1993. PlaintiEFs' motion
719 for class certification is granted '719

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Exhibit Z

“In the early 19803, the court system was roclced by the federal Operation Greylord
investigation A host of sitting judges, lawyers and court personnel were convicted

of crimes that included taking bribes and fixing cases. In the a_fier'rnath, Judge Comerford
appointed a panel led by Jerold Solovy of Jenner & Block to recommend ways to clean up
the courts. The commission 's recommendations, issued in December 1 984 and subsequently
implemented by Judge Comelj'ord, included limiting conversations between judges and
attorneys in hallways and other non-courtroom settinys.”

 

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Judge Harry Comerford dies
headed Cook County courts for 16 years

Chicago jurist guided court system during federal Operation
Greylord probe into judicial corruption

January 30, 2008 | By'l`revor Jensen, Tribune reporter

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Hatry Comerford was chief judge of Cook County‘s sptawling court system during
16 years that witnessed expansion of suburban courthouses as well as the tumult
of the Operation Greylord investigation into judicial corruption

Judge Comerford, 86, of Glenview died of pulmonary fibrosis on Tuesday, Jan. 29,
in Glenbrook Hospital in Glenview, said his daughter Sally.

Judge Comerford was first elected chief judge of Cook County Circuit Court in
1978 by his fellow judges. He was only the second person to hold that position in a
court system that was consolidated in the 19605 and has been for many years the
count ty's largest unified court system.

At the time of his election, he had already served 18 years on the bench, 11 of them
in the county division handling civil cases. He was named head of the county
division in 1969.

As chief judge, he was in charge of a multimillion-dollar budget and assigning
judges within the system. I-le was a close friend of longtime Cook County Board
President George Dunne, an unquestionable asset in getting his budgets and
initiatives approved

During his tenure, suburban court branches in Rolling Meadows_, Sl-tokie and
Bridgeview were expanded, as was the Criminal Courts Building at 26th Street and
California Avenue in Chicago. A random judicial assignment system was instituted
to ensure cases wouldn't be steered to a particular judge. He built a research

 

 

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said .J im Wilson, wl as court administrator under Judge erford front 1979

to 1988.

ln the early 19805_. the court system was recited by the federal Operation Greylord
investigation A host of sitting judges, lawyers and court personnel were convicted
of crimes that included taking bribes and fixing cases.

In the aftermath, Judge Com erford appointed a panel led by Jerold Solovy of
Jenner & Block to recommend ways to clean up the courts. The commissions
recommendations, issued in Decernber 1984 and subsequently implemented by
Judge Comerford, included limiting conversations between judges and attorneys
in hallways and other non-courtroom settings

At the time of his retirement, Judge Comerford lamented that Operation Greylord
was seen by the public "as a systemic type thing when in fact it was the result of
some greedy people that should have never been on the bench."

Watching colleagues he thought he could trust found guilty of taking bribes and
sent off to prison was tough on Judge Comerford, said longtime friend and legal
partner Dick Schultz.

"l-le had to hold it together, and l thought he did a superb job," Schultz said. "He
cooperated fully with federal authorities."

Current Chief Judge Timothy Evans said that Judge Comerford "recognized it was
necessary to let the public know that this was an aberrational set of circumstances
that most judges were there to settle their disputes honestly, reliany and above-
board."

Judge Comerford was raised on Chicago's Near North Side.

l-le graduated from DePaul Academy High School and received a degree in business
from DePaul University. He received his law degree from De Paul in 1947.

l-ie was a Navy lieutenant in the Pacific during World War II. Back in Chicago, he
was a special assistant attorney general, ran a private practice and worked as a
lawyer for the Chicago Park District before being elected judge in 1960.

After stepping down from the bench, Judge Comerford continued to practice law.

Besides his daughter, survivors include his wife of 57 years, Noreen; another
daughter, Susan Jacobs; a son, Br'ien ; a sister, Ann Babcoclc; four grandchildren;
and two great-grandchildren

Visitation will be from 5 to 9 p.m. Friday and from 10 to 11 a.m. Saturday in St.
Mary of the Woods Catholic Church, 7033 N. Moselle Ave._. Chicago. Mass will be
said in the church at 11 a.m. Saturday.

